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Form 137 − aplccmpn

                                   UNITED STATES BANKRUPTCY COURT


District of New Jersey
401 Market Street
Camden, NJ 08102

                                         Case No.: 21−16520−JNP
                                         Chapter: 11
                                         Judge: Jerrold N. Poslusny Jr.

In Re: Debtor(s) (name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address):
   Aluminum Shapes, L.L.C.
   aka Shapes LLC, fka Delair Aluminum,
   LLC
   9000 River Road
   Delair, NJ 08110
Social Security No.:

Employer's Tax I.D. No.:
  46−1406288

                      NOTICE OF HEARING ON APPLICATION FOR COMPENSATION

      NOTICE IS HEREBY GIVEN that there will be a hearing held before the honorable Jerrold N. Poslusny Jr.
on:

Date:     2/17/22
Time:      02:00 PM
Location:  4th Floor Courtroom 4C, Mitchell H. Cohen Courthouse, 1 John F. Gerry Plaza, 400 Cooper Street,
Camden, NJ 08101−2067

for the purpose of acting on applications for compensation. Attendance by debtor(s) or creditors is welcome, but not
required.

      The following applications for compensation have been filed:

APPLICANT(S)
Fox Rothschild LLP, Creditor Comm. Aty, period: 9/2/2021 to 11/30/202

COMMISSION OR FEES
Fees: $777,695.40

EXPENSES
$6,817.28

If this is a chapter 13 case, the fees and expenses awarded:

                will not reduce the amount to be paid to general unsecured
                creditors under the plan.

                will reduce the amount to be paid to general unsecured
                creditors under the plan as follows:

Debtor(s) or other parties who wish to object must file an objection not later than 7 days prior to the hearing date.
Objections must be filed with the Court and served on the applicant and other interested parties.
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     An appearance is not required on an application for compensation unless an objection is filed.




Dated: January 10, 2022
JAN:

                                                                    Jeanne Naughton
                                                                    Clerk
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                                                              United States Bankruptcy Court
                                                                  District of New Jersey
In re:                                                                                                                 Case No. 21-16520-JNP
Aluminum Shapes, L.L.C.                                                                                                Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0312-1                                                  User: admin                                                                Page 1 of 25
Date Rcvd: Jan 10, 2022                                               Form ID: 137                                                            Total Noticed: 834
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).

#                Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                 the notice recipient was advised to update its address with the court immediately.

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 12, 2022:
Recip ID                 Recipient Name and Address
db                     + Aluminum Shapes, L.L.C., 9000 River Road, Delair, NJ 08110-3204
aty                      Donald E. Rothman, Riemer & Braunstein, LLP, 100 Cambridge Street, 22nd Floor, Boston, MA 02114-2527
aty                    + Drew S. McGehrin, Duane Morris LLP, 30 S/ 17th Street, Philadelphia, PA 19103-4196
aty                    + Fox Rothschild LLP, 1301 Atlantic Avenue, Midtown Building, Suite 400, Atlantic City, NJ 08401-7247
aty                    + Fox Rothschild LLP, Fox Rothschild LLP, 1301 Atlantic Avenue, Suite 400, Atlantic City, NJ 08401-7227
aty                    + Jerrold Kulback, Archer & Greiner, PC, Three Logan Square, 35th Floor, 1717 Arch Street Philadelphia, PA 19103-2739
aty                      John T. Piggins, Miller Johnson, PO Box 306, Grand Rapids, MI 49501-0306
aty                    + Joseph M Garemore, Brown & Connery LLP, 6 N. Broad Street, Woodbury, NJ 08096-4635
aty                    + Kurtzman Steady LLC, 2 Kings Highway West, Suite 102, Haddonfield, NJ 08033-2117
aty                    + Martha B. Chovanes, Fox Rothschild, LLP, 2000 Market Street, 20th Floor, Philadelphia, PA 19103-3222
aty                    + Michael D Vagnoni, Obermayer Rebmann Maxwell & Hippel, LLP, 1120 Route 73, Suite 420, Mount Laurel, NJ 08054-5109
aty                    + Obermayer Rebmann Maxwell & Hippel LLP, 1120 Route 73, Suite 420, Mount Laurel, NJ 08054-5109
aty                    + Official Committee of Unsecured Creditors, Fox Rothschild, 49 Market Street, Morristown, NJ 07960-5122
aty                    + Russell R. Johnson, III, 2258 Wheatlands Drive, Manakin-Sabot, VA 23103-2168
op                     + BERKELEY RESEARCH GROUP, LLC, 250 Pehle Avenue, Suite 301, Saddle Brook, NJ 07663-5833
op                     + Berwyn Capital Interest, 25 North Moore Street, 6th Floor, Mew York, NY 10013-2460
op                     + Cowen and Company, 599 Lexington Avenue, 20th Floor, New York, NY 10022-7773
cr                     + Dilworth Paxson LLP, 1500 Market Street, Suite 3500E, Philadelphia, PA 19102-2101
cr                     + Eastern Lift Truck Co., Inc., c/o Saldutti Law Group, 800 Kings Highway N., Suite 300, Cherry Hill, NJ 08034-1511
intp                   + Energy Power Investment Company LLC, c/o Archer & Greiner, P.C., Attn: Jerrold S. Kulback, Esq., 1717 Arch Street, Suite 3500,
                         Philadelphia, PA 19103-2739
na                     + Epiq Corporate Restructuring, LLC, 777 Third Avenue, 12th Floor, New York, NY 10017-1302
cr                     + Martin J. Walsh, Secretary of Labor, U.S. Dept. of Labor, 200 Constitution Avenue NW, Washington, DC 20210-0001
none                   + Nathan H. Kelman, Inc., 41 Euclid Street, Cohoes, NY 12047, UNITED STATES 12047-4708
op                     + RIVERON MANAGEMENT SERVICES, LLC, 265 Franklin Street, Suite 1004, Boston, MA 02110-3113
intp                   + Residential Fences Corp., c/o Rivkin Radler LLP, 25 Main Street, Court Plaza North, Suite 501, Hackensack, NJ 07601-9004
cr                     + Teamsters Local 107, as Bargaining Agent for Union, 12275 Townsend Road, Philadelphia, PA 19154-1204
cr                     + Tiger Finance, LLC, c/o McCarter & English LLP, Four Gateway Center, 100 Mulberry Street, Newark, NJ 07102-4056
519307878              + 1000BULBS.COM, 2140 MERRITT DR, GARLAND, TX 75041-6135
519307879              + 3D BOLT, 9204 COLLINS AVENUE, PENNSAUKEN, NJ 08110-1039
519307880              + 4IMPRINT, ATTN: JULIE JOHNSON, 101 COMMERCE ST., OSHKOSH, WI 54901-4864
519307881                5 STAR CAB SERVICE, 3920 WESTFILED AVE, CAMDEN, NJ 08105
519307882              + A & A MACHINERY MOVING, INC., ATTN: ALBERT LYKON, 201 DEAN SIEVERS PLACE, MORRISVILLE, PA 19067-3798
519307883              + A & M INDUSTRIAL, INC., ATTN: KATHLEEN BUR, 37 WEST CHERRY ST, RAHWAY, NJ 07065-3214
519307884              + A K PACKAGING, INC., ATTN: JAY BECKER, 10 CANAL ST. 302, BRISTOL, PA 19007-3937
519307885              + A. BROOKS ROOFING, INC., ATTN: TOM BROOKS, 701 WEST 5TH STREET, PALMYRA, NJ 08065-2408
519307887                A.C. SHULTES, INC., ATTN: MICHAEL G. SCHULTES, 664 S. EVERGREEN AVENUE, WOODBURY HEIGHTS, NJ 08097
519307886                A.C. SHULTES, INC., ATTN: ED SCHULTES, 664 S. EVERGREEN AVENUE, WOODBURY HEIGHTS, NJ 08097
519307888              + AA ELECTRIC, 230 WEST PARKWAY, POMPTON PLAINS, NJ 07444-1060
519307889              + AALL AMERICAN FASTENERS, 2303 GARRY ROAD, CINNAMINSON, NJ 08077-2560
519307892                ABB BOMEM INC., 585 CHAREST BLVD. EAST, QUEBEC, QC G1K 9H4, CANADA
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Date Rcvd: Jan 10, 2022                                       Form ID: 137                                                       Total Noticed: 834
519307893            ABF FREIGHT SYSTEM, INC., ATTN: MIKE KINNIRY, PO BOX 10048, FORT SMITH, AR 72917-0048
519307895        +   AC, INC, 1085 JORDAN ROAD, HUNTSVILLE, AL 35811-8405
519307896        +   ACCESS TRAINING SERVICES, ATTN: MARK SCHLAGE, 7921 RIVER ROAD, PENNSAUKEN, NJ 08110-2434
519307897        +   ACE AMERICAN INSURANCE COMPANY, 436 WALNUT STREET, PO BOX 1000, PHILADELPHIA, PA 19105-1000
519307898        +   ACV ENVIRO, ATTN: KEVIN BENNET, 600 CENCO BLVD., CLAYTON, NJ 08312-2310
519307900        +   ADVANCE SCALE CO., INC., ATTN: MARTY FINGER, PO BOX 129, CLEMENTON, NJ 08021-0132
519307901            ADVANCED FLUID SYSTEMS, INC., ATTN: AMBER, PO BOX 360, ROYERSFORD, PA 19468-0360
519307902        +   AIM CLEVELAND LLC, 1240 MARQUETTE STREET, CLEVELAND, OH 44114-3920
519307903            AIM ONTARIO, 75 WINDERMERE ROAD, HAMILTON, ON L8H 3Y2, CANADA
519307904            AIM QUEBEC, 999 BLVD MONTMORENCY, QUEBEC, QC G1J 3W1, CANADA
519307905            AIM RECYCLING HAMILTON, 75 STEEL CITY COURT, HAMILTON, ON L8H 3Y2, CANADA
519307906            AIM RECYCLING LAVAL, 2185 MONTEE MASSON, LAVAL, QC H7E 4P2, CANADA
519307907            AIM RECYCLING MONTREAL, 9100 HENRI-BOURASSA EAST BLVD, MONTREAL, QC H1S 2S4, CANADA
519307908        +   AIM RECYCLING OAKLAND, 25 AYER STREET, OAKLAND, ME 04963-5036
519307909            AIM RECYCLING OTTAWA, 2575 SHEFFIELD ROAD, OTTAWA, ON K1B 3V6, CANADA
519307914            AIR-OIL SYSTEMS, INC., ATTN: CINDY, 753 WAMBOLD RD, SOUDERTON, PA 18964-2715
519307910        +   AIRGAS SAFETY, 128 WHARTON ROAD, BRISTOL, PA 19007-1622
519307911        +   AIRGAS USA, LLC, C/O FLEISCHER, FLEISCHER & SUGLIA, ATTN: JACLYN S. DOPKE, 601 ROUTE 73, SUITE 305,
                     MARLTON, NJ 08053-3475
519307912        +   AIRGAS, LLC, 1 PROGRESS DRIVE, HORSHAM, PA 19044-3502
519307913            AIRLINE HYDRAULICS CORP., ATTN: BOB DESHER, PO BOX 536746, PITTSBURGH, PA 15253-5909
519307915            AIROYAL COMPANY, ATTN: JIM AHERN, PO BOX 129, MAPLEWOOD, NJ 07040-0129
519307916        +   AJAX ICE INCORPORATED, 350 W ELM STREET, CONSHOHOCKEN, PA 19428-1804
519307918        +   ALBERTUS ENERGY, INC., ATTN: JOHN SCHEESE, 288 LANCASTER AVE., MALVERN, PA 19355-1800
519307919        +   ALEASTUR OF AMERICA, ATTN: TREY DENTON, 119 NORTH MORTON AVE, EVANSVILLE, IN 47711-5635
519307925       #+   ALL AROUND PENNSAUKEN, 2917 HADDONFIELD RD, PENNSAUKEN, NJ 08110-1109
519307926        +   ALLIANCE HSP MANAGEMENT LLC, 40 MORRIS AVE, STE 230, BRYN MAWR, PA 19010-3300
519307927        +   ALLIED ELECTRONICS, ATTN: JANICE/MARYA, 7410 PEBBLE DR., FT.WORTH, TX 76118-6961
519307928        +   ALLIED METER SERVICE, INC., ATTN: DOUG, PO BOX 617, BURLINGTON, NJ 08016-0617
519307929            ALLIED MINERAL PRODUCTS, INC., ATTN: MIKE GAVIN, 2700 SCIOTO PARKWAY, COLUMBUS, OH 43221-4660
519307930        +   ALLMARK DOOR, 1247 WARD AVE, WEST CHESTER, PA 19380-3441
519307931        +   ALMEX USA INC, 6925 ARAGON CIRCLE, BUENA PARK, CA 90620-1184
519307932        +   ALPHA GRAPHICS, ATTN: MIKE MCBRIDE, 2050 SPRINGDALE RD, CHERRY HILL, NJ 08003-4021
519307933        +   ALPI USA INC., 70 EAST SUNRISE HWY E, VALLEY STREAM, NY 11581-1233
519307934        +   ALRO STEEL CORPORATION, ATTN: ALLAN HOOVER, 3024 FRANKS ROAD, HUNTINGDON VALLEY, PA 19006-4217
519307935        +   ALSTON INTERNATIONAL INC, 2323 MAIN STREET, IRVINE, CA 92614-6222
519307936        +   ALYAN PUMP COMPANY, 930 HENDERSON BLVD, FOLCROFT, PA 19032-1805
519307938            AMAZON.COM, PO BOX 530958, ATLANTA, GA 30353-0958
519307939        +   AMC FIRE PROTECTION, ATTN: STEVE NORTON, 1803 UNDERWOOD BLVD, DELRAN, NJ 08075-1232
519307941        +   AMERICAN AIR FILTER, PO BOX 35690, LOUISVILLE, KY 40232-5690
519307942        +   AMERICAN BOX & RECYCLING, ATTN: TODD KENDALL, 3900 N. TENTH STREET, PHILADELPHIA, PA 19140-3132
519307945            AMERICAN EXPRESS, PO BOX 1270, NEWARK, NJ 07101-1270
519307944            AMERICAN EXPRESS, ATTN: STEPHEN J. SQUERI, THREE WORLD FINANCIAL CENTER, 200 VESEY STREET, NEW YORK,
                     NY 10285-4803
519307943        +   AMERICAN EXPRESS TRAVEL RELATED, SERVICES COMPANY, INC., C/O ZWICKER & ASSOCIATES, P.C., 80
                     MINUTEMAN RD., ANDOVER, MA 01810-1008
519307947        +   AMERICAN PACKAGING, DISTRIBUTORS CORP., 831 LINCOLN AVE 7, WEST CHESTER, PA 19380-4417
519307948        +   AMERICAN PLATING POWER, LLC, ATTN: GEORGE VIOLA, 2176 ANDREA LANE, FORT MEYERS, FL 33912-1901
519307949            AMERICAN RED CROSS, ATTN: LISA BRASSIL, 25688 NETWORK PLACE, CHICAGO, IL 60673-1256
519307951        +   AMERIGAS PROPANE, L.P., ATTN: SUZANNE/KIM, 80 NORTH MAIN ST, WINDSOR, NJ 08561-3209
519307950        +   AMERIGAS PROPANE, L.P., 460 NORTH GULPH ROAD, KING OF PRUSSIA, PA 19406-2815
519307953        +   ANDRE BROWN AND HIS ATTORNEY, BRUCE GINSBURG, ESQ, 15000 MIDLANTIC DRIVE SUITE 200, PO BOX 5429,
                     MOUNT LAUREL, NJ 08054-5429
519307960        +   APPLIED INDUSTRIAL TECH, ATTN: PAUL/BILL, 124 E. 9TH. AVE., RUNNEMEDE, NJ 08078-1126
519307961        +   ARCHER & GREINER, P.C., ONE CENTENNIAL SQUARE, HADDONFIELD, NJ 08033-2374
519307962        +   ARCONIC, 100 TECHNICAL DRIVE, NEW KENSINGTON, PA 15069-0001
519307966            ASTM.ORG, 100 BAR HARBOR DR, WEST CONSHOHOCKEN, PA 19428-2959
519307967        +   ATLAS COPCO COMPRESSORS LLC, ATTN: KEVIN WENZEL, 260 CORPORATE DRIVE, READING, PA 19605-3339
519307968            ATTAR METALS INC., ATTN: DONNA MUSSEL, 6290 NETHERHARD ROAD, MISSISSAUGA, ON L5T 1B7, CANADA
519300542        +   ATTAR METALS, INC., PO BOX 270, WICKATUNK NJ 07765-0270
519307969        +   AUTO-DIESEL PISTON RING CO., ATTN: CAROL, 3145 SUPERIOR AVE., CLEVELAND, OH 44114-4384
519334124        +   Aluminum Line Products Company, 24460 Sperry Circle, Westlake, OH 44145-1591
519313243        +   American Express Travel Related Services Company,, c/o Zwicker and Associates, P.C., Attorneys/Agents for Creditor, P.O. Box 9043,
                     Andover, MA 01810-0943
            Case 21-16520-JNP           Doc 349 Filed 01/12/22 Entered 01/13/22 00:12:37                                   Desc
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519303223        + Applied Industrial Technologies, Inc., c/o Jordan Moore, 1 Applied Plaza, Cleveland, OH 44115-2519
519306494          Arrowood Indemnity Company f/k/a Royal Indemnity, 235 North Edgewater Street, Greenboro NC 27401
519300746        + Attar Metals Inc., Coface North America Insurance Company, 650 College Road East, Suite 2005, Princeton, NJ 08540-6779
519307970        + B. TAIT BUILDERS, 6646 WESTFIELD AVE, PENNSAUKEN, NJ 08110-1619
519307971        + B.C.I.T. BURLINGTON COUNTY, INSITUTE OF TECHNOLOGY, 2 ACADEMY DRIVE, WESTAMPTON, NJ 08060-3826
519307972          BANK OF AMERICA, PO BOX 15731, WILMINGTON, DE 19886-5731
519307976        + BARTON SUPPLY INC., ATTN: KEVIN, 1260 MARLKRESS ROAD, CHERRY HILL, NJ 08003-2698
519307977        + BARTUK HOSE & HYDRAULICS, ATTN: RICK,FRANK, 1 SURREY LANE, DELRAN, NJ 08075-1242
519299292        + BB 316 Investments LLC, PO Box 953, Lakewood, NJ 08701-0953
519307978        + BCC U.S.A. INC., ATTN: STEVE, 143 ETHEL ROAD W., PISCATAWAY, NJ 08854-5928
519307979        + BDS TECHNOLOGIES INC., 3443 BETHLEHEM PIKE, SOUDERTON, PA 18964-1031
519307980        + BEB CREDIT GROUP, 26 HARBOR PARK DRIVE, PORT WASHINGTON, NY 11050-4602
519307982        + BELCO INDUSTRIES, INC., ATTN: LARRY MERCER, 9138 WEST BELDING ROAD, BELDING, MI 48809-1768
519307983        + BERK-RAUCH MARKETING, ATTN: NOEL BERK, 247 BALTIC STREET, BROOKLYN, NY 11201-6403
519307984        + BETE FOG NOZZLE INC., 50 GREENFIELD STREET, GREENFIELD, MA 01301-1378
519307985        + BILCO SAFETY PRODUCTS,INC., ATTN: TARA, 825 MOUNTAIN HOME ROAD, SINKING SPRING, PA 19608-9319
519307987        + BINSWANGER COMPANIES, ATTN: MARC, TWO LOGAN SQUARE, PHILADELPHIA, PA 19103-2759
519307988        + BIO-CLEAN, ATTN: ANDREW, 1709 BIDEN LANE, WILLIAMSTOWN, NJ 08094-8759
519307989        + BKG COMPANY INC., ATTN: TRACY CURRY, 2990 CLYMER AVE., TELFORD, PA 18969-1005
519307990        + BODY CRAFTERS INC, 9251 ROOSEVELT BLVD, PHILADELPHIA, PA 19114-2205
519307991        + BOGGS TOOL COMPANY, ATTN: HARRY, 14100 ORANGE AVENUE, PARAMOUNT, CA 90723-2019
519307992        + BOND PACKAGING INC., 7203 BROWNING ROAD, PENNSAUKEN, NJ 08109-4602
519307993          BORTEK INDUSTRIES, INC, 4713 OLD GETTYSBURGH ROAD, MECHANICSBURG, PA 17055
519307994          BOSTON MUTUAL LIFE INS CO, ATTN: POLLY KELLY, PO BOX 55153, BOSTON, MA 02205-5153
519307996        + BOYD BROS. TRANSPORTATION INC., 2554 PAYSPHERE CIRCLE, CHICAGO, IL 60674-0001
519307997        + BRAMMER STANDARD COMPANY, INC, 14603 BENFER ROAD, HOUSTON, TX 77069-2807
519307998          BRANDYWINE VALLEY CONCRETE, ATTN: JOHN KALBACH, CONSTRUCTION, LTD., DOWNINGTOWN, PA 19335
519307999        + BRENNTAG NORTHEAST INC., ATTN: BARBARA, PO BOX 13788, READING, PA 19612-3788
519308000        + BRIGGS HYDRAULIC, ATTN: EARLE, 2572 INDUSTRY LANE, NORRISTOWN, PA 19403-3957
519308001        + BROKERAGE CONCEPTS INC., PO BOX 61553, KING OF PRUSSIA, PA 19406-0953
519308002          BROWN & PERKINS,INC, ATTN: JOE, 1193 CRANBURY-SOUTH RIVER RD, CRANBURY, NJ 08512
519308005        + BUDS AUTO & TRUCK REPAIR, 1725 HURFFVILLE RD, SEWELL, NJ 08080-4279
519308007        + BURLINGHAM INTERNATIONAL, ATTN: JULIE, 1041 WEST 18TH STREET, COSTA MESA, CA 92627-4583
519308008          BURLINGTON COUNTY INSTITUTE OF, TECHNOLOGY, MEDFORD, NJ 08055
519308009        + BURLINGTON ELECTRICAL TESTING, 300 CEDAR AVENUE, CROYDON, PA 19021-6080
519292937        + Bank Direct Capital Finance, 150 N. Field Drive, Suite 190, Lake Forest, IL 60045-2594
519308011        + CAMDEN CO. MUNICIPAL UTILITIES, ATTN: STEPHANIE MADDEN, 1645 FERRY AVE, CAMDEN, NJ 08104-1311
519308012          CAMDEN CO. MUNICIPAL UTILITIES, PO BOX 1105, BELLMAWR, NJ 08099-5105
519308015          CANON FINANCIAL SERVICES, INC, 14904 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0149
519308017          CAREERBUILDER LLC, 13047 COLLECTION CENTER DR, CHICAGO, IL 60693-0130
519308018        + CARLESA NDE SERVICES, ATTN: RON MAGANELL, 147 GRAY LANE, HANSON, MA 02341-1188
519308022        + CARR LANE MANUFACTURING CO., PO BOX 191970, ST. LOUIS, MO 63119-7970
519308023        + CARRIER CORPORATION, ATTN: TONY DINGER, 1095 CRANBURY S RIVER RD, JAMESBURG, NJ 08831-3411
519308024        + CARTER LUMBER, ATTN: BUD, 731 CUTHBERT BLVD., CHERRY HILL, NJ 08002-3417
519308025          CASTOOL TOOLING SYSTEMS, ATTN: KRYSTEAN ROS, 2 PARRATT ROAD, UXBRIDGE, ON L9P 1R1, CANADA
519308026        + CATER 2U, ATTN: JOYCE, 2901 MARNE HIGHWAY, MT. LAUREL, NJ 08054-2036
519308027        + CAVAION BAUMANN USA, LLC, ATTN: DOMENIC, 20 JOSEPH MILLS DRIVE, FREDERICKSBURG, VA 22408-7303
519308028        + CDW, 200 N. MILWAUKEE AVENUE, VERNON HILLS, IL 60061-1577
519308030        + CERAMSOURCE, INC, PO BOX 6026, EAST BRUNSWICK, NJ 08816-6026
519308032        + CHALMERS & KUBECK INC., ATTN: JOE WORRELL, 150 COMMERCE DRIVE, ASTON, PA 19014-3290
519308033        + CHAMPION CHISEL WORKS, INC, ATTN: DAVE MAMMOSS, 804 E. 18TH ST, ROCK FALLS, IL 61071-2128
519308037        + CHARLES POK SEONGLOK, LAW GROUP PC, 809 S GARFIELD AVE, ALHAMBRA, CA 91801-4440
519308039          CHEM-ECOL LTD., ATTN: BRIAN MILNER, 640 VICTORIA STREET, COBOURG, ON K9A 5H5, CANADA
519308041          CHONGQING THERMALTECH, ATTN: A.K.A. GNAT, MECHANICAL & ELECTRICAL, CHONGQUING, CHINA
519308046        + CHUBB ENVIRONMENTAL RISK CLAIMS MANAGER, PO BOX 5103, SCRANTON, PA 18505-0510
519308047        + CHUBB INSURANCE COMPANY OF NJ, 202B HALLS MILL ROAD, WHITEHOUSE STATION, NJ 08889-3454
519308050        + CINTAS CORPORATION, ATTN: KELLY, 1038 CONSHOHOCKEN ROAD, CONSHOHOCKEN, PA 19428-1002
519308051        + CITY OF PHILADELPHIA, REVENUE COLLECTION BUREAU, 5900 TORRESDALE AVE, PHILADELPHIA, PA 19135-4127
519308052        + CLEANITSUPPLY.COM, ATTN: STACEY, 705 GENERAL WASHINGTON AVE, JEFFERSONVILLE, PA 19403-3682
519308053        + CLENDENIN BROS. INC., ATTN: LISA CROW, 4309 ERDMAN AVE., BALTMORE, MD 21213-2601
519308054        + CMI, COMPLIANCE MANAGEMENT, 1350 WELSH RD., SUITE 200, NORTH WALES, PA 19454-1923
519308055        + COATINGS INC., ATTN: STEPHEN, 30 COMMERCE STREET, WILMINGTON, DE 19801-5426
519308056        + COLORSOURCE, INC, ATTN: MURRAY ELLIS, 7025 CENTRAL HIGHWAY, PENNSAUKEN, NJ 08109-4312
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519308057            COMBINED METAL INDUSTRIES INC., 454 DOBBIE DRIVE, CAMBRIDGE, ON N1T 1S7, CANADA
519308058            COMBINED METAL INDUSTRIES INC., ATTN: NICK WALLAR, 505 GARYRAY DRIVE, TORONTO, ON M9L 1P9, CANADA
519308059            COMBINED METAL INDUSTRIES INC., ATTN: NICK WALLAR, 505 GARYRAY DRIVE, TORONTO, ON M9L1P9, CANADA
519308060        +   COMBINED METAL INDUSTRIES INC., CO HEITNER & BREITSTEIN, ATTN: CARY R. STERNBACK, 28 N MAIN ST 1429,
                     MARLBORO, NJ 07746-1429
519308061        +   COMBUSTION 911, ATTN: JENNIFER WIL, 600 MOGADORE ROAD, KENT, OH 44240-7533
519308063            COMCAST, PO BOX 8587, PHILADELPHIA, PA 19101-8587
519308062        +   COMCAST ENTERPRISE SERVICES, 4400 PORT UNION ROAD, WEST CHESTER, OH 45011-9714
519308064        +   COMMERCIAL BUSINESS FORMS, ATTN: VERONICA, 240 CEDAR KNOLLS ROAD, CEDAR KNOLLS, NJ 07927-1690
519308066            COMPES INTERNATIONAL, ATTN: ARTAN BARCI, 25 DEVON ROAD, BRAMPTON, ON L6T 5B6, CANADA
519308067        +   COMPRESSED AIR EQUIPMENT, ATTN: GARY, 111 CLINTON AVENUE, PITMAN, NJ 08071-1208
519308068            CONCENTRA, OCCUPATIONAL HEALTH CENTERS, PO BOX 8750, ELKRIDGE, MD 21075-8750
519308069            CONDUCTIX-WAMPFLER, ATTN: JIM PATTON, PO BOX 80909, CHICAGO, IL 60680
519308070       #+   CONFIRM BIOSCIENCES, 10123 CARROLL CANYON RD, SAN DIEGO, CA 92131-1109
519308071            CONNER STRONG & BUCKELEW, TRIAD 1828 CENTRE, CAMDEN, NJ 08101
519308072        +   CONSOLIDATED CERAMIC PRODUCTS, ATTN: KARI LAINHAR, 838 CHERRY STREET, BLANCHESTER, OH 45107-1316
519308073        +   CONTICHIM NORTH AMERICA INC., ATTN: BILL RIZZOLO, 3411 SILVERSIDE ROAD, WILMINGTON, DE 19810-4812
519308074        +   COONEY BROTHERS, INC., ATTN: STEVE HOLMES, 1850 N. GRAVERS RD. 100, PLYMOUTH MEETING, PA 19462-2837
519308075        +   COSTELLO & MAINS, LLC, 18000 HORIZON WAY, SUITE 800, MOUNT LAUREL, NJ 08054-4319
519308076        +   COUNTRYWIDE ENTERPRISES INC, PO BOX 3030, CHERRY HILL, NJ 08034-0273
519308078            COVENTRY HEALTH WORKERS COMP., PO BOX 660776, DALLAS, TX 75266-0776
519308079        +   COVENTYA, INC, ATTN: JASON POTTS, 4639 VAN EPPS RD, BROOKLYN HEIGHTS, OH 44131-1049
519308081            CROWE HORWATH LLP, PO BOX 71570, CHICAGO, IL 60694-1570
519308082        +   CROWE LLP, ATTN: CHARLES HOLLINGSWORTH, 485 LEXINGTON AVENUE, 11TH FLOOR, NEW YORK, NY 10017-2619
519308083        +   CROWNFLEX/ABRASIVES-SOUTH, ATTN: DELL, 2696 ROURK STREET, CHARLESTOWN, SC 29405-7411
519308084        +   CURBELL PLASTICS, ATTN: LISA/FRANK, 844 NORTH LENOLA ROAD, MOORESTOWN, NJ 08057-1052
519308085        +   CUSTOM MANUFACTURING CORP., ATTN: NICK, 2542 STATE ROAD, BENSALEM, PA 19020-7312
519308086        +   CUSTOMERS BANK, PROGRESS PLAZA - SULLIVAN BUILDING, 1501 N. BROAD STREET, SUITE 201, PHILADELPHIA, PA
                     19122-3319
519308087        +   CUT-MARK, ATTN: SCOTT GIBSON, 102 GAITHER DRIVE, MT. LAUREL, NJ 08054-1714
519308088            CWP INDUSTRIEL INC., ATTN: JULIEN PRINC, 407 MCGILL STREET, SUITE 315, MONTREAL, QC H2Y 2G3, CANADA
519308089            CYBER WOODWORKING DEPOT, PO BOX 10306, HOLYOKE, MA 01041-1906
519308090        +   D.P. BROWN OF PA., CORP., 710 E. STREET ROAD, BENSALEM, PA 19020-7322
519308091            D.R. SPERRY & CO., PO BOX 71842, CHICAGO, IL 60694-1842
519308099        +   DANIELI CORPORATION, 600 CRANBERRY WOODS DR., CRANBERRY TOWNSHIP, PA 16066-5230
519308100            DANIELI-BREDA EXTRUSION AND, FORGING PRESSES S.P.A., ATTN: ANGELO-BARBI, CINISELLO BALSAMO, MILAN
                     20092 ITALY
519308110        +   DEFELSKO CORPORATION, 800 PROCTOR AVENUE, OGDENSBURG, NY 13669-2205
519308111        +   DEL VEL CHEM COMPANY, ATTN: KATHY POWER, 250 OLD MARLTON PIKE, MEDFORD, NJ 08055-8768
519308112            DELAGE LANDEN FINANCIAL, SERVICES INC., PHILADELPHIA, PA 19101-1602
519308115            DEPARTMENT OF HEALTH AND SENIOR SERVICES, OFFICE OF LEGAL REGULATORY AFFAIRS, JOHN FITCH PLAZA, PO
                     BOX 360, TRENTON, NJ 08625-0360
519308117        +   DEPT. OF ENVIR. PROT. & ENERGY, FORRESTAL BUILDING, 1000 INDEPENDENCE AVENUE, SW, WASHINGTON, DC
                     20585-0001
519308121        +   DGI SUPPLY, 95 LOUISE DRIVE, IVYLAND, PA 18974-1549
519308122        +   DHL EXPRESS USA, INC., 16592 COLLECTIONS CENTER DRIVE, CHICAGO, IL 60693-0001
519308123        +   DIAMOND TECHNOLOGIES, LLC, 752 LINCOLN AVE, ATCO, NJ 08004-1239
519308124            DIE CLEANING EQUIPMENT, ATTN: STEVEN SMITH, AND SUPPLY INC., PHOENIX, AZ 85034
519308125        +   DILWORTH PAXSON LLP, 1500 MARKET STREET, PHILADELPHIA, PA 19102-2100
519308127        +   DILWORTH PAXSON LLP, ATTN: CHRISTIE CALLAHAN COMERFORD, 1500 MARKET ST., SUITE 3500E, PHILADELPHIA,
                     PA 19102-2101
519308130        +   DILWORTH PAXSON LLP, ATTN: THOMAS S. BIEMER, 1500 MARKET ST., SUITE 3500E, PHILADELPHIA, PA 19102-2101
519308126        +   DILWORTH PAXSON LLP, ATTN: BENJAMIN TERIS, 457 HADDONFIELD RD., SUITE 700, CHERRY HILL, NJ 08002-2221
519308128        +   DILWORTH PAXSON LLP, ATTN: JENNIFER SNYDER, 1500 MARKET ST., SUITE 3500E, PHILADELPHIA, PA 19102-2101
519308129        +   DILWORTH PAXSON LLP, ATTN: KATHARINE VIRGINIA HARMAN, 1500 MARKET ST., SUITE 3500E, PHILADELPHIA, PA
                     19102-2101
519308132        +   DIRECT ENERGY BUSINESS MARKETING LLC, CO FISHKINLUCKS, ATTN: STEVEN MILES LUCKS, ONE RIVERFRONT
                     PLAZA, SUITE 410, NEWARK, NJ 07102-5408
519308131        +   DIRECT ENERGY BUSINESS MARKETING LLC, 194 WOOD AVENUE SOUTH, SUITE 200, ISELIN, NJ 08830-2766
519308133        +   DIRECT ENERGY BUSINESS MARKETING LLC, CO MCDOWELL HETHERINGTON LLP, ATTN: KATE H. EASTERLING, 1001
                     FANNIN STREET, SUITE 2700, HOUSTON, TX 77002-6774
519308134            DIVERSIFIELD PLANT SERVICES, ATTN: BOB YAKAS, TRI-STATE BUSINESS PARK, CLAYMONT, DE 19703
519308135        +   DIVINCENZOS, 1101 CINNAMINSON AVE, CINNAMINSON, NJ 08077-2102
519308139        +   DONALDSON COMPANY INC., C/O BANK OF AMERICA, 96869 COLLECTION CENTER DRIVE, CHICAGO, IL 60693-0001
519308147        +   DYNAPOWER COMPANY LLC, ATTN: GEORGE VIOLA, 85 MEADOWLAND DR., SOUTH BURLINGTON, VT 05403-4401
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519308149        +   E & R INDUSTRIAL SALES, 23 CREEK CIRCLE, BOOTHWYN, PA 19061-3151
519308150        +   E LED LIGHTS, ATTN: TOM BECK, 1610 REPUBLIC ROAD, HUNTINGDON VALLEY, PA 19006-1808
519308151        +   E.T. SABA ASSOCIATES, INC, ATTN: GREG, 916 S. OTT STREET, ALLENTOWN, PA 18103-4634
519308152        +   E.W. WYLIE CORPORATION, PO BOX 1188, FARGO, ND 58107-1188
519308153        +   EAST COAST STORAGE EQUIPMENT, ATTN: JOHN GEDDES, 154 JULIUSTOWN ROAD, BROWNS MILLS, NJ 08015-3135
519308156        +   EASTERN LIFT TRUCK, PO BOX 307, MAPLE SHADE, NJ 08052-0307
519308154        +   EASTERN LIFT TRUCK CO INC., 549 E LINWOOD AVENUE, MAPLE SHADE, NJ 08052-1209
519308155        +   EASTERN LIFT TRUCK CO., CO SALDUTTI LAW GROUP, ATTN: ROBERT L. SALDUTTI, 1040 KINGS HWY N., SUITE 100,
                     CHERRY HILL, NJ 08034-1925
519308158        +   ECHO ULTRASONICS LLC, 774 MARINE DRIVE, BELLINGHAM, WA 98225-1530
519308165        +   EDWARD KURTH & SONS, INC., 220 BLACKWOOD-BARNSBORO ROAD, SEWELL, NJ 08080-9481
519308171        +   EMH, INC., ATTN: JOHN PORTMAN, 550 CRANE DRIVE, VALLEY CITY, OH 44280-9361
519308173        +   EMPLOYEE BENEFITS PLUS, INC, 528 PLUM COURT, STE 250, SYRACUSE, NY 13204-1477
519308174        +   EMSL ANALYTICAL INC., ATTN: NANCY WALKER, 200 ROUTE 130 NORTH, CINNAMINSON, NJ 08077-2892
519308175        +   ENERGY POWER INVESTMENT CO, LLC, 1605 N. CEDAR CREST BLVD, SUITE 509, ALLENTOWN, PA 18104-2355
519308176        +   ENERGY POWER INVESTMENT CO, LLC, ATTN: STEVEN GABRIELLE, 1605 N. CEDAR CREST BLVD, SUITE 509,
                     ALLENTOWN, PA 18104-2355
519308177        +   ENERGY POWER INVESTMENT COMPANY, LLC, 251 LITTLE FALLS DRIVE, WILMINGTON, DE 19808-1674
519308180        +   ENVIRONMENTAL RECOVERY CO, ATTN: BILL SPIRES, 1076 OLD MANHEIM PIKE, LANCASTER, PA 17601-3177
519308181        +   ENVIROSURE, INC, 319 SOUTH HIGH STREET, WEST CHESTER, PA 19382-3336
519308182            EPA - REGION 2, 290 BROADWAY, 17TH FLOOR 2, NEW YORK, NY 10007-1866
519308185            EQUIPMENT DEPOT, ATTN: DAN DENDERSO, PO BOX 8500-7647, PHILADELPHIA, PA 19178-7647
519308183        +   EQUIPMENT DEPOT PENNSYLVANIA, INC., 741 INDEPENDENCE AVENUE, MECHANICSBURG, PA 17055-5498
519308184        +   EQUIPMENT DEPOT PENNSYLVANIA, INC., C/O GREGORY SHIELDS LAW, ATTN: GREGORY S. SHIELDS, 107 CHESLEY
                     DR STE 5, MEDIA, PA 19063-1760
519308186        +   EREPLACEMENTPARTS.COM, 211 COTTAGE AVE, SANDY, UT 84070-1432
519308191        +   ESSEX SERVICE CORPORATION, ATTN: PHONE&FAX OK, 82 DOE RUN DRIVE, HOLLAND, PA 18966-2807
519308192        +   EUDONE WILLIAMS, 4014 HAMILTON DRIVE, VOORHEES, NJ 08043-3127
519308196        +   EULER HERMES NORTH AMERICA INSURANCE CO., 800 RED BROOK BLVD., OWINGS MILLS, MD 21117-5190
519308197        +   EVANS HEAT TREATING COMPANY, ATTN: LEE EVANS, 360 RED LION ROAD, HUNTINGDON VALLEY, PA 19006-6437
519308199            EVOQUA WATER TECHNOLOGIES LLC, ATTN: JOHN MULLIN, PO BOX 360766, PITTSBURGH, PA 15251-6766
519308200            EXAIR CORP., ATTN: SUSAN COLE, 11510 GOLDCOAST DR., CINCINNATI, OH 45249-1621
519308202        +   EXCEL HYDRAULICS LLC., PO BOX 260, MT. ROYAL, NJ 08061-0260
519308203        +   EXCO USA, ATTN: GRACE REED, 56617 NORTH BAY DRIVE, CHESTERFIELD, MI 48051-3746
519305317        +   Eastern Lift Truck Co., Inc., c/o Saldutti Law Group, 1040 Kings Highway N., Suite 100, Cherry Hill, NJ 08034-1925
519288662        +   Euler Hermes N.A as Agent for JOSEPH FREEDMAN CO.,, 800 Red Brook Blvd, #400C, Owings Mills, MD 21117-5173
519288666        +   Euler Hermes N.A-Agent for JOSEPH FREEDMAN CO, INC, 800 Red Brook Blvd, #400C, Owings Mills, MD 21117-5173
519288700        +   Euler Hermes N.A-Agent for NORTHEAST METAL TRADERS, 800 Red Brook Blvd, #400C, Owings Mills, MD 21117-5173
519305457        +   Euler Hermes agent for SYMTAX INDUSTRIES ENTERPRIS, 800 Red Brook Blvd., 400 C, Owings Mills, MD 21117-5173
519308204        +   FASTENAL INDUSTRIAL SUPPLIES, ATTN: JUSTIN, 8021 ROUTE 130 UNIT 8, PENNSAUKEN, NJ 08110-1483
519308205        +   FC PENNSYLVANIA STADIUM, LLC, 1 STADIUM DRIVE, CHESTER, PA 19013-1940
519308206        +   FED EX FREIGHT, PO BOX 223125, PITTSBURGH, PA 15250-0001
519308207        +   FEDERAL INSURANCE COMPANY, CAPITAL CENTER, 251 N. ILLINOIS, SUITE 1100, INDIANAPOLIS, IN 46204-1938
519308208        +   FEDERAL RENT-A-FENCE, PO BOX 266, WEST BERLIN, NJ 08091-0266
519308209            FEDEX, PO BOX 371461, PITTSBURGH, PA 15250-7461
519308212        +   FENNELLY ENVIRONMENTAL ASSOC., 116 VILLAGE BLVD , SUITE 200, PRINCETON, NJ 08540-5700
519308214        +   FERRETTI PRODUCTIONS, LLC, 36 PIERMONT ROAD, ROCKLEIGH, NJ 07647-2711
519308215        +   FIREMANS FUND INSURANCE COMPANY, AN ALLIANZ COMPANY, 225 W. WASHINGTON STREET, SUITE 1800,
                     CHICAGO, IL 60606-3458
519308216            FISHER SCIENTIFIC, ATTN: DAVID WILDS, ACCT 070822-001, BOSTON, MA 02241-3648
519308217        +   FOLEY INCORPORATED, 650 S. EGG HARBOR ROAD, HAMMONTON, NJ 08037-9231
519308218        +   FOX ROTHSCHILD LLP, ATTN: DAN MADRID, 997 LENOX DRIVE, BLDG 3, LAWRENCEVILLE, NJ 08648-2317
519308221        +   FRANK D. RIGGIO COMPANY, INC, ATTN: ALLEN VAZQUZ, 797 AVE E., BAYONNE, NJ 07002-4043
519308224        +   FREELAND HOIST & CRANE, INC, ATTN: FRANK, 776 JERNEE MILL RD, SAYREVILLE, NJ 08872-2744
519308225            FREIGHTCAR AMERICA, INC, PO BOX 617967, CHICAGO, IL 60661-7967
519308226        +   FRONT SEAT FILMS, 713 WHITETAIL CIRCLE, KING OF PRUSSIA, PA 19406-1524
519308227        +   FUCHS LUBRICANTS CO., ATTN: JEAN, 281 SILVER SANDS RD., EAST HAVEN, CT 06512-4140
519308228            FUSECO INC., ATTN: ANTHONY, ACTION FUSE, WOODLAND PARK, NJ 07424
519301709        +   Fox Rothschild LLP, Attn: Martha B. Chovanes, Esquire, 2000 Market Street, 20th Floor, Philadelphia, PA 19103-3222
519308230        +   GARDEN STATE DUST CONTROL, ATTN: ED, 7007 ROUTE 38, PENNSAUKEN, NJ 08109-4404
519308231        +   GAUM INC., ATTN: GREG ZABIT, 1080 ROUTE 130, ROBBINSVILLE, NJ 08691-1717
519308232        +   GENERAL CHEMICAL & SUPPLY, ATTN: DAVID MCDONOUGH, 858 N. LENOLA RD, UNIT 1A, MOORESTOWN, NJ
                     08057-1064
519308233        +   GENERAL PARTITION CO. INC., ATTN: ANITA DELIA, PO BOX 97, CROYDON, PA 19021-0097
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519308234            GEORGE DEGEN & CO. INC., ATTN: NANCY, DBA INDUSTRIAL OIL PRODUCTS, WOODBURY, NY 11797
519308236            GEORGE YOUNG MAMMOET, ATTN: KURT HANSEN, 509 HERRON DRIVE, SWEDESBORO, NJ 08085-1713
519308239        +   GERHART SYSTEMS AND CONTROLS, 300 BUSHKILL STREET, TATAMY, PA 18085-7046
519308240        +   GEXPRO, 522 PEDRICKTOWN ROAD, SWEDESBORO, NJ 08085-1729
519308241        +   GEXPRO.COM, PO BOX 100275, ATLANTA, GA 30384-0275
519308242            GIBBONS P.C., PO BOX 5177, NEW YORK, NY 10087-5177
519308243        +   GILL & ASSOCIATES, INC, 1500 WALNUT STREET, PHILADELPHIA, PA 19102-3506
519308244        +   GILL POWDER COATING INC., PO BOX 365, BENSALEM, PA 19020-0365
519308245        +   GINDRE COPPER, INC, 202 LEE STREET, GREENWOOD, SC 29646-2131
519308246        +   GLACERN MACHINE TOOLS, 3015 KASHIWA STREET, TORRANCE, CA 90505-4008
519308248        +   GLOBAL INDUSTRIAL, 11 HARBOR PARK DRIVE, PORT WASHINGTON, NY 11050-4656
519308249        +   GLOUCESTER CITY BOX WORKS LLC, PO BOX 2, GLOUCESTER CITY, NJ 08030-0002
519308250            GNA ALUTECH INC., ATTN: TED PHENIX, 9495 TRANS-CANADA, SAINT-LAURENT, QC H4S 1V3, CANADA
519308252        +   GOLDBERG SEGALLA, 665 MAIN STREET, BUFFALO, NY 14203-1425
519308253        +   GORDON BROTHERS ASSET ADVISORS, 12200 NORTH CORPORATE PKWY, MEQUON, WI 53092-3300
519308254            GRAINGER, DEPT. 808060032, PALATINE, IL 60038-0001
519308255        +   GRANCO-CLARK, INC., ATTN: RANCE, 7298 NORTH STOREY ROAD, BELDING, MI 48809-9384
519308256        +   GRAPHTEK LLC, ATTN: VLADIMIR, 600 ACADEMY DR, NORTHBROOK, IL 60062-2408
519308257        +   GRAYBAR ELECTRIC COMPANY INC., 1550 S WARFIELD ST, PHILADELPHIA, PA 19146-3295
519308258        +   GREANEY CONSULTING LLC, ATTN: CHRIS GREANE, 800 VILLAGE WALK, GUILFORD, CT 06437-2762
519308259        +   GREAT NORTHERN INSURANCE COMPANY, 3618 WEST 26TH STREET, CHICAGO, IL 60623-3936
519308260        +   GREENBERG TRAURIG, LLP, 77 WEST WACKER DRIVE, CHICAGO, IL 60601-4900
519308261            GTHANK YOU LLC, PO BOX 5211, MADISON, WI 53705-0211
519308262        +   GUIDON CORPORATION, ATTN: MIKE REED, PO BOX 1351, MT. LAUREL, NJ 08054-7351
519308263            GUYSON CORPORATION OF USA, ATTN: STEPHANIE, W.J. GRANDE INDUSTRIAL PARK, SARATOGA SPRINGS, NY
                     12866-9090
519302177        +   Gloucester City Box WorksLLC, PO BOX 2, Gloucester City, NJ 08030-0002
519308264            H.J. CANNON GROUP, INC., ATTN: SCOTT HEYER, 520 FELLOWSHIP ROAD, MOUNT LAUREL, NJ 08054-3407
519308266        +   HACH COMPANY, PO BOX 389, LOVELAND, CO 80539-0389
519308268        +   HAINESPORT TOOL, ATTN: GARY ZWICK, 1924 ARK RD, HAINESPORT, NJ 08036-5219
519308269        +   HALE TRAILER, ATTN: LINDA Z., PO BOX 1400, VOORHEES, NJ 08043-7400
519308270            HALIFAX FAN LTD, ATTN: LEIGH, MISTRAL WORKS, UNIT 11, WEST YORKSHIRE HD6 2SD, UNITED KINGDOM
519308272            HAMILTON CASTER & MFG. CO., 1637 DIXIE HIGHWAY, HAMILTON, OH 45011-4087
519308273            HARBISONWALKER INTERNATIONAL, ATTN: STEVE, 4667A SOMERTON ROAD, TREVOSE, PA 19053-6754
519308274        +   HARBOR FREIGHT TOOLS, 1112 CHESTER PIKE, SHARON HILL, PA 19079-1915
519308276        +   HARRIS, BAIO & MCCULLOUGH, ATTN: GEORGE HARRIS, 520 S. FRONT STREET, PHILADELPHIA, PA 19147-1723
519308278        +   HENRY STEWART COMPANY, ATTN: HENRY, PO BOX 280, VILLANOVA, PA 19085-0280
519308280        +   HERMANCE MACHINE COMPANY, ATTN: JAMES WOOL, 178 CAMPBELL STREET, WILLIAMSPORT, PA 17701-5829
519308281        +   HERZOG AUTOMATION CORPORATION, ATTN: BRUCE WEAKLA, 16600 SPRAGUE RD., CLEVELAND, OH 44130-6318
519308282        +   HILLOCK ANODIZING INC., ATTN: STEVE DUNGAN, 5101 COMLY STREET, PHILADELPHIA, PA 19135-4391
519308283            HILTI, INC., ATTN: KEN ROSSI, PO BOX 382002, PITTSBURGH, PA 15250-8002
519308284        +   HJM PRECISION, INC., ATTN: CHRIS MILLAR, 9 NEW TURNPIKE ROAD, TROY, NY 12182-1411
519308285        +   HOFFMAN EQUIPMENT, INC., ATTN: BRIAN, 300S. RANDOLPHVILLE RD., PISCATAWAY, NJ 08854-4148
519308286        +   HOFSTEIN WEINER & MEYER, P.C., 1600 MARKET STREET, SUITE 2650, PHILADELPHIA, PA 19103-7226
519308287        +   HOLMAN FORD LINCOLN, ATTN: JEFF, 571 WEST RT. 38, MAPLE SHADE, NJ 08052-1685
519308288        +   HOME DEPOT, 4640 ROOSEVELT BLVD, PHILADELPHIA, PA 19124-2305
519308289            HORIZON BLUE CROSS & BLUE, SHIELD OF NJ, NEWARK, NJ 07101-3130
519308290            HOUGHTON INTERNATIONAL, INC, ATTN: TOM CINA, 1055 WINDWARD PKWY, ALPHARETTA, GA 30005
519308291            HOUSE OF METALS, 45 COMMERCIAL ROAD, TORONTO, ON M4G 1Z3, CANADA
519308296            HR DIRECT, PO BOX 669390, POMPANO BEACH, FL 33066-9390
519308298        +   HUMAN FACTOR MEDIA, 79 MADISON AVE, NEW YORK, NY 10016-7802
519308300        +   HYDRO AIR HUGHES, 9685 MAIN STREET, CLARENCE, NY 14031-2036
519308301            HYG FINANCIAL SERVICES INC, PO BOX 14545, DES MOINES, IA 50306-3545
519308302            HYG FINANCIAL SERVICES INC., 800 WALNUT ST, DES MOINES, IA 50309-3605
519313283        +   HYG Financial Services, Inc, 1010 Thomas Edison Blvd SW, Cedar Rapids, IA 52404-8247
519308303            ICW GROUP, ATTN PREMIUM ACCOUNTING, SAN DIEGO, CA 92150-9039
519308304        +   IDENTICARD SYSTEMS INC., 39597 TREASURY CENTER, CHICAGO, IL 60694-9500
519308305        +   IES ENGINEERS, ATTN: ASHOK SONI, 1720 WALTON ROAD, BLUE BELL, PA 19422-2305
519308307        +   IFM EFECTOR, INC., ATTN: SHARON, 805 SPRINGDALE DRIVE, EXTON, PA 19341-2843
519308306        +   IFM EFECTOR, INC., 1100 ATWATER DRIVE, MALVERN, PA 19355-8731
519308308        +   IFM EFECTOR, INC., CO HEITNER & BREITSTEIN, ATTN: CARY R. STERNBACK, 28 N MAIN ST 1429, MARLBORO, NJ
                     07746-1429
519308310        +   INDIGO GLOBAL, ONE SOUTH BROAD STREET, SUITE 1610, PHILADELPHIA, PA 19107-3415
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519308309        + INDIGO GLOBAL, ATTN: MELISSA ANAGNOSTAKOS, 1500 MARKET STREET, SUITE 3500E, PHILADELPHIA, PA 19102-2101
519308311        + INDILAW LLP, ATTN: BHANU B. ILINDRA, ESQ., TWO LIBERTY PLACE, 50 S. 16TH STREET, SUITE 2710, PHILADELPHIA,
                   PA 19102-2519
519308312          INDUSTRIAL CONTROLS, ATTN: DAN, GOVERNOR PRINTZ BLVD., LESTER, PA 19029
519308313        + INDUSTRIAL HEARING HEALTH ASSOC., 19 MIDSTATE DRIVE, AUBURN, MA 01501-1865
519308314        + INDUSTRIAL PLASTIC FAN, ATTN: ADAM CAROLA, 339 NORTH MAIN ST, MIDDLETON, MA 01949-1614
519308315        + INDUSTRIAL SEWN PRODUCTS INC., 1702 INDUSTRIAL HWY 5, CINNAMINSON, NJ 08077-2567
519308316        + INDUSTRIAL SUPPLIES CO., ATTN: AL, 405 ANDREWS ROAD, TREVOSE, PA 19053-3431
519308318          INSTRON, 825 UNIVERSITY AVENUE, NORWOOD, MA 02062-2643
519308317          INSTRON SYSTEMS, 75 REMITTANCE DRIVE,, CHICAGO, IL 60675-6826
519308319        + INSTRUCON INC., ATTN: GEORGE, 3415 PRECISION DRIVE, ROCKFORD, IL 61109-2771
519308321        + INSURANCE COMPANY OF THE WEST, PO BOX 509039, SAN DIEGO, CA 92150-9039
519308320          INSURANCE COMPANY OF THE WEST, 15025 INNOVATION DRIVE, SAN DIEGO, CA 92128-3455
519308322        + INTEGRATED POWER SERVICES, ATTN: MARINA, 3240 S. 78TH STREET, PHILADELPHIA, PA 19153-3288
519308326        + INTERSTATE AERIALS LLC, 900 JULIAN LN, BEAR, DE 19701-2277
519308327        + INTUITIVE TECHNOLOGY, 620 W. GERMANTOWN SUITE 270, PLYMOUTH MEETING, PA 19462-2219
519308332        + J.A. CUNNINGHAM EQUIPMENT INC., ATTN: DAN, 2025 TRENTON AVENUE, PHILADELPHIA, PA 19125-1997
519308333        + J.C. EHRLICH, 110 AMERICAN BLVD, TURNERSVILLE, NJ 08012-1767
519308339        + JAFFE GLENN LAW GROUP, PA, 301 N. HARRISON STREET, PRINCETON, NJ 08540-3527
519308353        + JAY SODERA, 13 LEIGHTON DRIVE, MOUNT LAUREL, NJ 08054-6413
519308354        + JAYS TIRE SERVICE, 7015 WESTFIELD AVENUE, PENNSAUKEN, NJ 08110-2633
519308355          JEFFERSON HEALTH, PO BOX 785992, PHILADELPHIA, PA 19178-5992
519308367          JOHNSON CONTROLS SECURITY, PO BOX 371967, PITTSBURGH, PA 15250-7967
519308366          JOHNSON CONTROLS SECURITY SOLUTIONS LLC, 7852 BROWNING RD, PENNSAUKEN, NJ 08109-4642
519308374        + JOSEPH FAZZIO, INC., ATTN: BRIAN, 2760 GLASSBORO-CROSS KEY ROAD, GLASSBORO, NJ 08028-2713
519308375        + JOSEPH FREEDMAN CO., ATTN: FABIO FOLINO, 115 STEVENS STREET, SPRINGFIELD, MA 01104-3120
519308376          JOSEPH GARTLAND, INC, 80 WEST BROWNING ROAD, BELLMAWR, NJ 08031-2243
519308386        + JOYCE/DAYTON CORP, ATTN: TOM SELL, PO BOX 1630, DAYTON, OH 45401-1630
519308388        + JULIA GLOBAL ENTERPRISE, INC, PO BOX 93302, CITY OF INDUSTRY, CA 91715-3302
519305502        + Jillian M. Pratt, 3704 Kennett Pike, Suite 200, Suite 200, Greenville, DE 19807-2173
519305504        + Jillian Pratt, Esquire, 3704 Kennett Pike, Suite 200, Greenville, DE 19807-2173
519307373        + Joseph C. and Kathleen M. Grace, 8 Heilser Ave., North East, MD 21901-3303
519308390        + K & D ASSOCIATES, 90 NORTH KINGS HIGHWAY, CHERRY HILL, NJ 08034-1009
519308391        + K & M TRANSPORT LLC, 526 RAILROAD BLVD., BUENA, NJ 08310-1512
519308392        + KABERT INDUSTRIES INC., ATTN: KARL HARTMAN, 321 W. ST. CHARLES ROAD, VILLA PARK, IL 60181-2493
519308393          KANO LABORATORIES INC., 1000 E THOMPSON LANE, NASHVILLE, TN 37211-2627
519308394        + KARL ENVIRONMENTAL GROUP, ATTN: AJA SLATER, PO BOX 645, SHILLINGTON, PA 19607-0645
519308396        + KB ALLOYS, ATTN: MARTY BARONE, 40 NORWOOD DRIVE, BLUE POINT, NY 11715-1512
519308397          KELI INDUSTRY CO LIMITED, ATTN: YONGYI GUAN, RM 1310,13/F WAYSON COMM, HONG KONG, CHINA
519308398        + KELM ACUBAR, ATTN: ANDY BODNAR, 1055 NORTH SHORE DRIVE, BENTON HARBOR, MI 49022-3516
519308405          KEYSTONE MANUFACTURING INC., ATTN: DREW ELSTE, 668 CLEVELAND STREET, ROCHESTER, PA 15074-0270
519308406        + KING STEEL INC., ATTN: MARK, 1329 FORD ROAD, BENSALEM, PA 19020-4501
519308407        + KJGRACE LLC, 8 HEISLER AVE, NORTH EAST, MD 21901-3303
519308408        + KONECRANES AMERICAS, ATTN: ANGELA KING, 7300 CHIPPEWA BLVD, HOUSTON, TX 77086-3231
519308409          KONECRANES INC, ATTN: DOUG, CRANE PRO PARTS, PITTSBURGH, PA 15264
519308411        + KONICA, PO BOX 642333, PITTSBURGH, PA 15264-2333
519308412        + KOTTER & MUND JEWELERS LLC, 1 W. KINGS HIGHWAY, BELLMAWR, NJ 08031-1038
519308413        + KRAEMER INDUSTRIAL SVCS, LLC, PO BOX 131, AUDUBON, NJ 08106-0131
519308415        + KT-GRANT, INC., ATTN: BILL SAGIN, 3073 ROUTE 66, EXPORT, PA 15632-1908
519308419        + L&L REDI-MIX, INC., ATTN: BOB, 1939 ROUTE 206, SOUTHAMPTON, NJ 08088-9593
519308420        + LABRADOR RECYCLING, ATTN: FABIO FOLINO, 115 STEVENS STREET, SPRINGFIELD, MA 01104-3120
519308422        + LANCASTER FOUNDRY SUPPLY CO, 2314 NORMAN ROAD, LANCASTER, PA 17601-5930
519308423        + LARC SCHOOL, 1089 CREEK RD., BELLMAWR, NJ 08031-1673
519308427        + LAWSON PRODUCTS INC., ATTN: BRIAN KERR, 295 PRINCETON HEIGHTSTOWN RD, WEST WINDSOR, NJ 08550-3123
519308428        + LDI COLOR TOOLBOX, 50 JERICHO QUADRANGLE, JERICHO, NY 11753-2726
519308429          LEHIGH VALLEY SAFETY SUPPLY CO, 1105 E. SUSQUEHANNA STREET, ALLENTOWN, PA 18103-4203
519308432          LEVEL 3 COMMUNICATIONS, LLC, PO BOX 910182, DENVER, CO 80291-0182
519308433          LIAONING DURABLE TECHNOLOGY, CO., LTD, NO.1 XINKE RD, DONGDAIHE DISTRICT, HULUDAO, LIAONING 125208
                   CHINA
519308434        + LIBERTY TOOL CO., INC., ATTN: TOM/TONY/BAR, 424 CREAMERY WAY, EXTON, PA 19341-2500
519308435        + LISA W. JOHNSON, 18 WEST STREET, MEDIA, PA 19063-2608
519308436        + LITTLE BELL, LLC, ATTN: YUN ZHANG, 1801 LIACOURAS WALK, PHILADELPHIA, PA 19122-6105
519308437          LITTLER MENDELSON, PC, PO BOX 207137, DALLAS, TX 75320-7137
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519308438         +   LMB INDUSTRIAL SERVICES, ATTN: BILL BECK, 50 WESTWOOD ROAD, POTTSVILLE, PA 17901-1834
519308440         +   LOCAL 107 IBT, 12275 TOWNSEND RD, PHILADELPHIA, PA 19154-1204
519308441         +   LOCAL 107 SCHOLARSHIP FUND, 12275 TOWNSEND RD, PHILADELPHIA, PA 19154-1204
519308442         +   LOCAL 837 401K PLAN, ATTN: PAMELA PALMER, 12275 TOWNSEND ROAD, PHILADELPHIA, PA 19154-1204
519308443         +   LOCAL 837 HEALTH & WELFARE, ATTN: DEBBIE OR KATHY, 12275 TOWNSEND ROAD, PHILADELPHIA, PA 19154-1204
519308444         +   LOFTWARE, ATTN: ROSLYN, 249 CORPORATE DRIVE, PORTSMOUTH, NH 03801-6885
519308446             LOUIS P. CANUSO, INC., ATTN: FRANK, PO BOX 501, THOROFARE, NJ 08086-0501
519308449         +   LUMBERMEN ASSOCIATES, INC., ATTN: KENNY, 2101 HUNTER ROAD, BRISTOL, PA 19007-4017
519308450         +   LVR INC., ATTN: JOHN LAWSON, PO BOX 187, NORTHAMPTON, PA 18067-0187
519308451        ++   M&T BANK, LEGAL DOCUMENT PROCESSING, 626 COMMERCE DRIVE, AMHERST NY 14228-2307 address filed with court:,
                      M&T BANK, ATTN: JHITEA MULLEN, ONE MALL NORTH, 10025 GOVERNOR WARFIELD PKWY, SUITE 107, COLUMBIA,
                      MD 21044
519308452         +   M&T BANK, ONE LIGHT STREET, 16TH FLOOR, BALTIMORE, MD 21202-1543
519308453         +   M. DAVIS & SONS INC., 19 GERMAY DRIVE, WILMINGTON, DE 19804-1104
519308454         +   MACHINERY VALUES OF NJ INC., 401 SUPOR BLVD., HARRISON, NJ 07029-2059
519308456         +   MAIN MANUFACTURING PRODUCTS, 3181 TRI-PARK DRIVE, GRAND BLANC, MI 48439-7088
519308457         +   MAJESTIC OIL COMPANY, INC., ATTN: GENE, 2104 FAIRFAX AVENUE, CHERRY HILL, NJ 08003-1624
519308459             MANAC INC., 2275 - 107E RUE, ST-GEORGES BCE, QC G5Y 8G6, CANADA
519308460         +   MANCINE OPTICAL, 2910 ROUTE 130 NORTH, DELRAN, NJ 08075-2599
519308461         +   MAPLE LEAF LAWNCARE INC., ATTN: JIM DALY, PO BOX 1302, MERCHANTVILLE, NJ 08109-0302
519308462         +   MARDINLY INDUSTRIAL POWER, LLC, ATTN: ED BRADY, 701 PARKWAY DR., BROOMALL, PA 19008-4213
519308466             MARK GORMAN, 2451 EAST LETTERLY STREET, PHILADELPHIA, PA 19125-3007
519308470             MARLIN BUSINESS BANK, PO BOX 13604, PHILADELPHIA, PA 19101-3604
519308472             MARSHALL INDUSTRIAL, ATTN: MICHAEL, TECHNOLOGIES, TRENTON, NJ 08611-1893
519308473         +   MARSHALL, DENNEHEY, WARNER, COLEMAN & GOGGIN, 2000 MARKET STREET, SUITE 2300, PHILADELPHIA, PA
                      19103-7006
519308474             MARX GMBH & CO. KG, ATTN: WOLFGANG, LILIENTHALSTR 6-13, ISERLOHN 58638, GERMANY
519308475         +   MATERIAL HANDLING SUPPLY INC., 525 FELLOWSHIP RD, MT. LAUREL, NJ 08054-3415
519308478             MCMASTER CARR SUPPLY COMPANY, PO BOX 7690, CHICAGO, IL 60680-7690
519308479             MCNEIL SALES & SERVICE CO.,INC, ATTN: JASON, 15 MARLEN DRIVE, ROBBINSVILLE, NJ 08691-1604
519308480         +   MEARS TOOL & DIE INC., ATTN: PHIL MEARS, 24668 U.S. HIGHWAY 322, COCHRANTON, PA 16314-6412
519308482         +   MELTON TRUCK LINES, INC., 808 N. 161ST EAST AVE., TULSA, OK 74116-4115
519308484             MELTON TRUCK LINES, INC., PO BOX 268946, OKLAHOMA CITY, OK 73126-8946
519308483         +   MELTON TRUCK LINES, INC., C/O HEATH E. HARDCASTLE, 15 WEST 6TH STREET, SUITE 2600, TULSA, OK 74119-5413
519308485         +   MERCER RUBBER COMPANY, INTERSTATE BUSINESS PARK, 110 BENIGNO BLVD, BELLMAWR, NJ 08031-2516
519308487         +   MERCHANTVILLE-PENNSAUKEN WATER, ATTN: KARL N. MCCONNELL, 6751 WESTFIELD AVE, PENNSAUKEN, NJ
                      08110-1519
519308486         +   MERCHANTVILLE-PENNSAUKEN WATER, ATTN: JACK KILLION, 6751 WESTFIELD AVE, PENNSAUKEN, NJ 08110-1519
519297076         +   MERCHANTVILLE-PENNSAUKEN WATER COMMISSION, 6751 Westfield Avenue, Pennsauken, NJ 08110-1519
519308489         +   MESA SIGNS, 2019 COVE RD, PENNSAUKEN, NJ 08110-2714
519308490             METAL RADAR, ENSCHEDESESTRAAT 2P, OLDENZAAL 7575 AB, THE NETHERLANDS
519308491             METLIFE-GROUP BENEFITS, PO BOX 804466, KANSAS CITY, MO 64180-4466
519308492         +   METLSAW SYSTEMS, INC., ATTN: GREG WITT, 2950 BAY VISTA CT., BENICIA, CA 94510-1123
519308493         +   METRIC & MULTISTANDARDS, ATTN: GLEN, 120 OLD SAW MILL RIVER RD., HAWTHORNE, NY 10532-1599
519308495             MICHAEL D. DYKES, YVETT DYKES, AND CELLINO & BARNS, P.C., ROCHESTER, NY 14614
519308503             MICRONICS FILTRATION, LLC, ATTN: ADELE HOWES, PO BOX 775500, CHICAGO, IL 60677-5500
519308505             MICROSOFT, PO BOX 842103, DALLAS, TX 75284-2103
519308504         +   MICROSOFT, ONE MICROSOFT WAY, REDMOND, WA 98052-8300
519308508         +   MOBILE DREDGING & PUMPING CO., 3100 BETHEL ROAD, CHESTER, PA 19013-1488
519308510         +   MOLTEN METAL EQUIPMENT INC, ATTN: DON TURACY, PO BOX 933048, CLEVELAND, OH 44193-0032
519308511             MONDOR LUMBER INC., ATTN: AUREL MONDOR, 101 AMHERST, BEACONSFIELD, QC H9W 5Y7, CANADA
519308513         +   MONROE TOOL & DIE INC., ATTN: STEVE KENNED, 197 SHARPS ROAD, WILLAMSTOWN, NJ 08094-7446
519308515             MORGAN CORPORATION, ATTN: MELISSA, PO BOX 27770, NEW YORK, NY 10087-7770
519308516         +   MORTONS PAINT CENTER, ATTN: AL, 3555 HADDONFIELD RD, PENNSAUKEN, NJ 08109-3807
519308517         +   MOSES B. GLICK,LLC, 58 HARTZ ROAD, FLEETWOOD, PA 19522-9382
519308519         +   MOTUS, TWO FINANCIAL CENTER, BOSTON, MA 02111-2620
519308520         +   MSC INDUSTRIAL DIRECT, CO HEITNER & BREITSTEIN, ATTN: CARY R. STERNBACK, 28 N MAIN STREET, MARLBORO,
                      NJ 07746-1429
519308522         +   MSCI PHILADELPHIA CHAPTER, CERTIFIED STEEL COMPANY, 1333 BRUNSWICK PIKE, SUITE 200, LAWRENCEVILLE, NJ
                      08648-4502
519308523         +   MSDSONLINE, INC., 27185 NETWORK PLACE, CHICAGO, IL 60673-1271
519308524         +   MTT ENTERPRISES INC, ATTN: MIKE, 20 GATEHOUSE LANE, DOYLESTOWN, PA 18901-2242
519308525         +   MURLIN CHEMICAL, INC., ATTN: TOM, 10 BALLIGOMINGO ROAD, W CONSHOHOCKEN, PA 19428-2738
519286893         +   McCARTER & ENGLISH, LLP, Franklin Barbosa, Jr., Esq., Four Gateway Center, 100 Mulberry Street, Newark, New Jersey 07102-4056
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519286892         + McCARTER & ENGLISH, LLP, Joseph Lubertazzi, Jr., Esq., Four Gateway Center, 100 Mulberry Street, Newark, New Jersey
                    07102-4056
519305503         + Molded Components Inc, 3706 Wild Cherry Lane, Wilmington, DE 19808-4612
519305505         + Molded Components Inc., 3704 Kennett Pike, Suite 200, Greenville, DE 19807-2173
519308527           N.J. DIV. OF MOTOR VEHICLES, PO BOX 008, TRENTON, NJ 08646-0008
519308528           N.J. SALES TAX, CN 999, TRENTON, NJ 08646-0999
519308529         + NALCO COMPANY, ATTN: JOHN SOPKO, 1222 FOREST PARKWAY, PAULSBORO, NJ 08066-1752
519308530         + NANO PRO MT, ATTN: MICHAEL FLYN, 7427 MATTHEWS MINT HILL RD, CHARLOTTE, NC 28227-7862
519308531         + NAPA AUTO PARTS, 1675 BLACKWOOD-CLEMENTON RD, BLACKWOOD, NJ 08012-4633
519308533         + NATHAN H KELMAN, INC, 41 EUCLID STREET, COHOES, NY 12047-4708
519308534         + NATHAN H KELMAN, INC, ATTN: NATHAN H. KELMAN, 41 EUCLID STREET, COHOES, NY 12047-4708
519308535         + NATHAN H. KELMAN, CO HAHALIS & KOUNOUPIS, P.C., ATTN: DAVID L. DERATZIAN, 20 E BROAD ST., BETHLEHEM, PA
                    18018-5902
519308536         + NATIONAL BASIC SENSOR, ATTN: GINNY, 455 VEIT ROAD, HUNTINGDON VALLEY, PA 19006-1617
519308537         + NATIONAL FILTER MEDIA CORP., ATTN: JIM CHEYNE, 9 FAIRFIELD BOULEVARD, WALLINGFORD, CT 06492-1828
519308538         + NATIONAL PAVING COMPANY, INC., PO BOX 5, BERLIN, NJ 08009-0005
519308539         + NELSON STUD WELDING, INC., ATTN: TRISH SIROLL, 260 BOOT ROAD, DOWNINGTOWN, PA 19335-3403
519308540         + NEW CLEAN RITE LLC, 2620 E. ALLEGHENY AVE, PHILADELPHIA, PA 19134-5137
519308541         + NEW JERSEY - PUBLIC EMPLOYEES, OCCUPATIONAL SAFETY AND HEALTH, PO BOX 360, TRENTON, NJ 08625-0360
519308542         + NEW JERSEY - PUBLIC EMPLOYEES, OCCUPATIONAL SAFETY AND HEALTH, PO BOX 386, TRENTON, NJ 08625-0386
519308544         + NEW JERSEY DEPT OF ENVIRON. PROTECTION, MAIL CODE 401-04L, 401 E STATE ST, PO BOX 402, TRENTON, NJ
                    08625-0402
519308545         + NEW JERSEY DEPT OF ENVIRON. PROTECTION, MAIL CODE 401-06Q, PO BOX 402, TRENTON, NJ 08625-0402
519308546         + NEW JERSEY DEPT OF LABOR, DIV OF WAGE AND HOUR COMPLIANCE, 1 JOHN FITCH PLAZA 3RD FL, TRENTON, NJ
                    08611-1760
519308547           NEW JERSEY DEPT OF LABOR, DIVISION OF EMPLOYER ACCOUNTS, PO BOX 389, TRENTON, NJ 08625-0389
519308549           NEW JERSEY DEPT OF THE TREASURY, DIVISION OF TAXATION, BANKRUPTCY SECTION, PO BOX 245, TRENTON, NJ
                    08695-0245
519308550           NEW JERSEY DEPT OF THE TREASURY, DIVISION OF TAXATION, PO BOX 002, TRENTON, NJ 08625-0002
519308548         + NEW JERSEY DEPT OF THE TREASURY, DIVISION OF ADMINISTRATION, PO BOX 311, TRENTON, NJ 08625-0311
519308551           NEW JERSEY DEPT. OF HUMAN SERVICES, OFFICE OF LEGAL REGULATORY AFFAIRS, 222 SOUTH WARREN STREET, PO
                    BOX 700, TRENTON, NJ 08625-0700
519308552           NEW JERSEY DEPT. OF LABOR, BENEFIT PAYMENT CONTROL, PO BOX 951, TRENTON, NJ 08625-0951
519308554           NEW JERSEY FAMILY SUPPORT, PAYMENT CENTER, TRENTON, NJ 08650
519308555           NEW JERSEY PAINTING, ATTN: MARK, AND SANDBLASTING CO., CLAYTON, NJ 08312
519308556         + NEW PENN MOTOR EXPRESS, 24801 NETWORK PLACE, CHICAGO, IL 60673-1248
519308557         + NEW PIG CORPORATION, 1 PORK AVE., TIPTON, PA 16684-9025
519308558           NEW YORK BLOWER COMPANY, ATTN: BILL DEGROUC, C/O MUTIMER COMPANY, PLYMOUTH MEETING, PA 19462
519308563           NJ MOTOR VEHICLE COMMISSION, 225 E. STATE STREET, CN 133, TRENTON, NJ 08666-0133
519308564         + NJ SUPPORT PAYMENT CENTER, PO BOX 4880, TRENTON, NJ 08650-4880
519308565           NJEZPASS, PO BOX 52002, NEWARK, NJ 07101-8202
519308566         + NJR RETAIL SERVICES, ATTN: PAMELA FLICK, 1415 WYCKOFF RD., WALL TOWNSHIP, NJ 07727-3940
519308567           NJR RETAIL SERVICES, ATTN: PAMELA FLICK, PO BOX 9001075, LOUISVILLE, KY 40290-1075
519308568         + NORRIS MCLAUGHLIN, P.A., 400 CROSSING BLVD, BRIDGEWATER, NJ 08807-2863
519308569         + NORTH AMERICAN BENEFITS CO., 20 VALLEY STREAM PARKWAY, MALVERN, PA 19355-1458
519308571         + NORTHEAST METAL TRADERS, ATTN: MITCHELL, 7345 MILNOR STREET, PHILADELPHIA, PA 19136-4222
519308570         + NORTHEAST METAL TRADERS, ATTN: MITCHELL GOLDBERG, 7345 MILNOR STREET, PHILADELPHIA, PA 19136-4222
519308572         + NORTHEAST PLASTIC SUPPLY CO., 3021 DARNELL ROAD, PHILADELPHIA, PA 19154-3201
519308573         + NOVOTECHNIK U.S., INC., ATTN: DEBBIE, 155 NORTHBORO ROAD, SOUTHBOROUGH, MA 01772-1033
519293401         + Nathan H. Kelman, Inc., 41 Euclid Ave, Cohoes, NY 12047-4708
519308574         + OCCUPATIONAL SAFETY & HEALTH-LABOR, MARLTON EXECUTIVE PARK, BUILDING 2 SUITE 120, 701 RT. 73 SOUTH,
                    MARLTON, NJ 08053-4144
519308575         + OFFICE OF SECRETARY OF STATE OF NEW JERSEY, PO BOX 001, TRENTON, NJ 08625-0001
519308576         + OFFIT KURMAN P.A., TEN PENN CENTER, 1801 MARKET STREET, SUITE 2300, PHILADELPHIA, PA 19103-1627
519308577         + OIL SKIMMERS, INC., ATTN: KIM SASAK, 12800 YORK ROAD SUITE G, CLEVELAND, OH 44133-3682
519308578         + OILGEAR CO., ATTN: JON DUNN, 3060 HICKORY GROVE CT., FAIRFAX, VA 22031-1144
519308579           OILGEAR COMPANY, ATTN: TODD RIECKE, PO BOX 681086, CHICAGO, IL 60695-2086
519308580           OILGEAR TOWLER UK LTD., ATTN: JAMES SHAW, 37 BURLEY ROAD, LEEDS LS3 1JT, UNITED KINGDOM
519308581           OLD DOMINION FREIGHT LINE, PO BOX 415202, BOSTON, MA 02241-5202
519308582         + OLYMPIC MECHANICAL LLC, ATTN: CORIN, 3106 SYLON BLVD, HAINESPORT, NJ 08036-3661
519308583         + OLYMPIC WIRE & CABLE CORP., ATTN: BOB BURKE, 7 MADISON ROAD, FAIRFIELD, NJ 07004-2308
519308585           OMAV S.P.A., ATTN: FRANCO, VIA STACCA, 2, RODENGO SAIANO 25050, ITALY
519308586         + OMEGA ENGINEERING, ONE OMEGA DRIVE, STAMFORD, CT 06907-2336
519308588           OMNITECH SALES COMPANY, ATTN: ROBERTA, 2370 YORK ROAD, JAMISON, PA 18929-0278
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519308589         +   OPTIMUM SAFETY MANAGEMENT, ATTN: STEVE YATES, 550 WARRENVILLE ROAD, LISLE, IL 60532-4311
519308590         +   ORION INTERNATIONAL, 400 REGENCY FOREST DRIVE, CARY, NC 27518-7702
519308592         +   OTP INDUSTRIAL SOLUTIONS, ATTN: JASON JOHNSO, 71 VERONICA AVE, UNIT 1, SOMERSET, NJ 08873-3462
519308594         +   OVOQUA, 258 DUNKS FERRY ROAD, BENSALEM, PA 19020-6540
519302506         +   Offit Kurman, P.A., 8850 Stanford Blvd., #2900, Columbia, MD 21045-4793
519308595         +   P & L HEAT TREATING & GRINDING INC., 313 E. WOOD STREET, YOUNGSTOWN, OH 44503-1631
519308596         +   P & S TRANSPORTATION INC, PO BOX 2487, BIRMINGHAM, AL 35201-2487
519308599         +   P.S.E. & G., PO BOX 14444, NEW BRUNSWICK, NJ 08906-4444
519308597         +   P.S.E. & G., ATTN: RALPH IZZO, 150 HOW LN, NEW BRUNSWICK, NJ 08901-3640
519308598         +   P.S.E. & G., C/O MEYNER AND LANDIS LLP, ATTN: SCOTT T. MCCLEARY, ONE GATEWAY CENTER, SUITE 2500,
                      NEWARK, NJ 07102-5396
519308600             PA DEPARTMENT OF REVENUE, BUREAU OF COMPLIANCE, PO BOX 280904, HARRISBURG, PA 17128-0904
519308601         +   PACE TECHNOLOGIES CORPORATION, ATTN: CHRIS, 3601 E. 34TH ST., TUCSON, AZ 85713-5310
519308602         +   PAGE TRANSPORTATION, INC., PO BOX 920, WEEDSPORT, NY 13166-0920
519308603             PALL AEROPOWER CORP., ATTN: SCOTT, 5775 RIO VISTA DRIVE, CLEARWATER, FL 33760-3137
519308604         +   PALL CORPORATION, 770 PENNSYLVANIA DR., EXTON, PA 19341-1186
519308606         +   PATRICK J. KELLY DRUMS INC., ATTN: HAROLD, 2109 HOWELL STREET, CAMDEN, NJ 08105-1023
519308611         +   PAYCOM, 7501 W. MEMORIAL RD, OKLAHOMA CITY, OK 73142-1404
519308612         +   PEAK TOOLWORKS, ATTN: DOM PARIS, 1180 WERNSING RD, JASPER, IN 47546-8171
519308613         +   PENN STAINLESS PRODUCTS, INC., 190 KELLY ROAD, QUAKERTOWN, PA 18951-4208
519308614             PENN-AIR & HYDRAULICS, ATTN: JOHN, PO BOX 132, YORK, PA 17402
519308615         +   PENNEX ALUMINUM, 50 COMMUNITY STREET, WELLSVILLE, PA 17365-9661
519308616         +   PENNSAUKEN SEWERAGE AUTHORITY, ATTN: BILL ORTH, 1250 JOHN TIPTON BLVD., PENNSAUKEN, NJ 08110-2322
519308618         +   PENNSAUKEN-COLLINGSWOOD, FIRE PREVENTION & INSPECTION, 4700 WESTFIELD AVE, PENNSAUKEN, NJ 08110-2902
519308621             PENSKE TRUCK LEASING CO. L.P., PO BOX 827380, PHILADELPHIA, PA 19182-7380
519308623         +   PERFECTUS ALUMINUIUM, ATTN: BILL RILEY, 10681 PRODUCTION AVE, FONTANA, CA 92337-8006
519308624         +   PERFORMANCE HEALTH, 33479 LAKE RD, AVON LAKE, OH 44012-1162
519308625         +   PERMA INDUSTRIES, INC., 2129 CENTER PARK DRIVE, CHARLOTTE, NC 28217-2904
519308626         +   PERMATECH INC., ATTN: BONNIE, 911 EAST ELM ST., GRAHAM, NC 27253-1907
519308627         +   PETRO EXTRUSION TECHNOLOGIES, ATTN: JULIE, PO BOX 99, GARWOOD, NJ 07027-0099
519308628             PETROCHOICE HOLDINGS,INC, ATTN: BOB MILLS, 837 CHERRY STREET, AVOCA, PA 18641
519308629         +   PHASE 2 PLUS, 21 INDUSTRIAL AVE, UPPER SADDLE RIVER, NJ 07458-2301
519308630         +   PHILLIPS CORP., ATTN: JIM HAAS, 8500 TRIAD DRIVE, COLFAX, NC 27235-9403
519308631             PHOENIX HYDRAULIC SERVICES, ATTN: CHRIS SHAW, 21 WAINMAN RD, PETERBOROUGH PE2 7BU, UNITED KINGDOM
519308632             PHOENIX MANAGEMENT SERVICES, 110 COMMONS COURT, CHADDS FORD, PA 19317-9716
519308633             PINNACLE PERFORMANCE GROUP, THE MANSION AT BALA, PHILADELPHIA, PA 19131
519308634         +   PIRTEK-SOUTH PHILADELPHIA, ATTN: GLEN GUNTER, 31 INDUSTRIAL HIGHWAY, ESSINGTON, PA 19029-1001
519308635         +   PITNEY BOWES GLOBAL FINANCIAL, SERVICES LLC, PITTSBURGH, PA 15250-0001
519308636             POLITEKNIK METAL SAN.TIC. A.S., BULVARi KRISTAL CADDESI, NO:2, B1/B4 PARSEL, TUZLA, ISTANBUL 34956
                      TURKEY
519308637         +   POLYMERSHAPES, 2585 INTERPLEX DRIVE, TREVOSE, PA 19053-6923
519308639         +   POWER MODULES INC., ATTN: DUANE, 4C RAYMOND DRIVE, HAVERTOWN, PA 19083-3188
519308640         +   PPC LUBRICANTS INC., ATTN: RANDY MYERS, 305 MICRO DRIVE, JONESTOWN, PA 17038-8744
519308641             PQ SYSTEMS, ATTN: JOHN KELLY, PO BOX 750010, DAYTON, OH 45475-0010
519308642         +   PRAB CONVEYORS, ATTN: DAVE STEFFEN, 5944 E. KILGORE ROAD, KALAMAZOO, MI 49048-9776
519308643         +   PRECISION FINISHING, ATTN: LAURA X-27, 1800 AM DRIVE, QUAKERTOWN, PA 18951-2114
519308644             PREMIER MARKINGS, 6155 TOMKEN RD UNIT 10, MISSISSAUGA, ON L5T 1X3, CANADA
519308645         +   PRINTED SOLID INC, 2860 OGLETOWN RD, NEWARK, DE 19713-1820
519308646        #+   PROCESS TECHNOLOGY INC, 7010 LINDSAY DRIVE, MENTOR, OH 44060-4921
519308647         +   PROCESSFLO INC., ATTN: JEFF, 115 HILTON STREET WEST, EASTON, PA 18042-7373
519308649         +   PROVIDENT BANK, PO BOX 1001, ISELIN, NJ 08830-1001
519308650         +   PRUDENTIAL FINANCIAL, PO BOX 1206, WILKES-BARRE, PA 18703-1206
519297422         +   PSE&G, po box 709, newark, NJ 07101-0709
519308651         +   PSK STEEL CORP., ATTN: S.ANDERSON, 2960 GALE AVE., HUBBARD, OH 44425-1099
519308652         +   PUMPORTAL, ATTN: FARAH, 1642 MCGAW AVE, IRVINE, CA 92614-5632
519308653             PYROMETER EQUIPMENT CO., INC., ATTN: STEPHEN B, 15 LANCE ROAD, LEBANON, NJ 08833-5007
519308655         +   PYROTEK INC., C/O LEWIS BRISBOIS BISGAARD & SMITH, LLP, ATTN: JONATHAN M. PREZIOSI, ONE RIVERFRONT
                      PLAZA, SUITE 800, NEWARK, NJ 07102-5477
519336495         +   Pollution Control Financing Authority, of Camden County, c/o Brown & Connery LLP, 6 N. Broad Street, Woodbury, NJ 08096-4635
519336496         +   Pollution Control Financing Authority of Camden Co, c/o Brown & Connery LLP, 6 N. Broad Street, Woodbury, NJ 08096-4635
519308657         +   QC LABORATORIES, 702 ELECTRONIC DRIVE, HORSHAM, PA 19044-2239
519308658         +   QUAL TECH LABS, INC., ATTN: BARBARA W., 301 NATIONAL ROAD, EXTON, PA 19341-2640
519308659         +   QUALITY CONCEPTS, INC., ATTN: TOM WAGNER, 730 MARNE HIGHWAY, MOORESTOWN, NJ 08057-3122
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519308660         +   QUENCH INC., ATTN: DAREN, 3077 EAST 98TH STREET, INDIANAPOLIS, IN 46280-2940
519308663         +   QUINT COMPANY, ATTN: ED HOWELL, 3725 CASTOR AVENUE, PHILADELPHIA, PA 19124-5699
519308664         +   R.L. BEST COMPANY, ATTN: BILL, 723 BEV ROAD, BOARDMAN, OH 44512-6423
519308665         +   R.L. HOLLIDAY COMPANY, INC., ATTN: RICHARD, 525 MCNEILLY ROAD, PITTSBURGH, PA 15226-2546
519308666         +   RADWELL INTERNATIONAL, ATTN: MIKE, 111 MOUNT HOLLY BYPASS, LUMBERTON, NJ 08048-1113
519308668         +   RAJU LLP, 1500 MARKET ST, PHILADELPHIA, PA 19102-2100
519308672         +   RANE NETWORK INC, 510 5TH AVE, FLOOR 3, NEW YORK, NY 10036-7507
519308673         +   RANKIN AUTOMATION, ATTN: MIKE SCHILLE, 8 UNION HILL ROAD, W. CONSHOHOCKEN, PA 19428-2722
519308678             REACT ENVIRONMENTAL, PROFESSIONAL SERVICES GROUP, PHILADELPHIA, PA 19142
519308679             READING CRANE & ENGINEERING, ATTN: RAY COWAN, LINCOLN CORPORATE CENTER, READING, PA 19606
519308681         +   REIT LUBRICANTS, ATTN: DEBBIE, 899 MEARNS ROAD, WARMINSTER, PA 18974-2809
519308682         +   RELIANCE STANDARD LIFE, PO BOX 3124, SOUTHEASTERN, PA 19398-3124
519308683         +   RENTOKIL NORTH AMERICA. INC., DBA EHRLICH, 1125 BERKSHIRE BOULEVARD, SUITE 150, WYOMISSING, PA
                      19610-1218
519308684             REX MATERIALS GROUP, ATTN: LEEANN MORTO, PO BOX 980, FOWLERVILLE, MI 48836-0980
519308688         +   RG GROUP, ATTN: KAREN DUGAN, PO BOX 62744, BALTIMORE, MD 21264-2744
519308695         +   ROBERT J. FITZMYER CO., INC., ATTN: JOHN, 315 EAST 7TH AVENUE, CONSHOHOCKEN, PA 19428-1726
519308704         +   ROCKLAND BAKERY, 425 37TH STREET, PENNSAUKEN, NJ 08110-4333
519308706         +   ROLLED STEEL PRODUCTS CORP OF PA, PO BOX 645, 511 OLD LANCASTER ROAD, BERWYN, PA 19312-1671
519308708         +   ROOT 24 HRS, ATTN: LAURIE, 130 FERRY AVENUE, CAMDEN, NJ 08104-1998
519308709         +   ROSE METAL INDUSTRIES, LLC., ATTN: KARA, 1536 EAST 43RD STREET, CLEVELAND, OH 44103-2310
519308712         +   ROWE SALES & SERVICE, INC, ATTN: TIM ROWE, 381 WEST PENN AVE, ROBESONIA, PA 19551-1415
519308713             RUMSEY ELECTRIC COMPANY, ATTN: JIM T., PO BOX 824429, PHILADELPHIA, PA 19182-4429
519308715         +   RUSS WHELAN, INC, ATTN: STEPHANIE, PO BOX 119, BENSALEM, PA 19020-0119
519308716         +   RYAN HERCO PRODUCTS CORP., ATTN: FRANK, 50 TANNERY ROAD, BRANCHBURG, NJ 08876-6034
519308717         +   SAE.ORG, 400 COMMONWEALTH DRIVE, WARRENDALE, PA 15096-0001
519308720        ++   SAMUEL STRAPPING SYSTEMS, 1401 DAVEY ROAD, SUITE 300, WOODRIDGE IL 60517-4991 address filed with court:,
                      SAMUEL STRAPPING SYSTEMS, 1455 JAMES PARKWAY, HEATH, OH 43056
519308723         +   SCEPTER INC. - SENECA FALLS, ATTN: DANIELLE, 11 LAMB ROAD, SENECA FALLS,, NY 13148-8422
519308724         +   SCHORR & ASSOC, P.C., 5 SPLIT ROCK DRIVE, CHERRY HILL, NJ 08003-1220
519308725         +   SCHUPAN & SONS INC., 2619 MILLER RD, KALAMAZOO, MI 49001-4138
519308726         +   SCRAM, INC, ATTN: LYNDA, 260 FANT DRIVE, ASHVILLE, AL 35953-3005
519308727         +   SECAT INC., ATTN: SHRIDAS NINGILERI, 1505 BULL LEA RD, LEXINGTON, KY 40511-1297
519308728         +   SECURITY DOOR SPECIALIST, INC., ATTN: ED SABLICH, 1424 WELLS DRIVE, BENSALEM, PA 19020-4468
519308729         +   SELEE CORPORATION, ATTN: BECKY SHERMA, 700 SHEPHERD STREET, HENDERSONVILLE, NC 28792-6400
519308731         +   SEQUEL CORPORATION, 119 N. JONATHAN BLVD, CHASKA, MN 55318-2342
519308732             SETON NAME PLATE CO., ATTN: FRED SWAN, PO BOX 819, BRANFORD, CT 06405-0819
519308733             SEW-EURODRIVE, ATTN: ED TUCKER, 2107 HIGH HILL ROAD, BRIDGEPORT, NJ 08014
519308738         +   SHELBOURNE ANALYTIC LLC, C/O BERWYN CAPITAL, 353 WEST LANCASTER AVENUE, 2ND FLOOR, WAYNE, PA
                      19087-3907
519308739             SHENYANG DINGSHENG INDUSTRIAL, BELT CO.LTD, SHENYANG 110114, CHINA
519308741         +   SHI INTERNATIONAL CORP, 1501 S. MOPAC EXPRESSWAY, AUSTIN, TX 78746-7544
519308742         +   SHINGLE AND GIBB, ATTN: WALT, 845 LANCER DRIVE, MOORESTOWN, NJ 08057-4230
519308743         +   SHIP TO SHORE, DRUG AND ALCOHOL TESTING, PO BOX 106, GLENOLDEN, PA 19036-0106
519308744         +   SHUPPER-BRICKLE EQUIP. CO., ATTN: DAN CAHILL, 2394 RT. 130, DAYTON, NJ 08810-1500
519308745         +   SIC MARKING USA, ATTN: SCOT, 137 DELTA DRIVE, PITTSBURGH, PA 15238-2805
519308747         +   SMITH POWER GROUP INC., ATTN: CARLTON, PO BOX 950, WILLIAMSTOWN, NJ 08094-0950
519308748         +   SMITHAMUNDSEN LLC, ATTN: AR DEPT, 150 NORTH MICHIGAN AVENUE, SUITE 3300, CHICAGO, IL 60601-6004
519308749         +   SMITHAMUNDSEN LLC, ATTN: MATTHEW W. HORN, ESQ., 150 NORTH MICHIGAN AVENUE, SUITE 3300, CHICAGO, IL
                      60601-6004
519308751         +   SOLID SURFACE DESIGNS, INC., ATTN: FRANCESCA, 1651 SHERMAN AVE., PENNSAUKEN, NJ 08110-2624
519308754         +   SOUTH JERSEY WELDING SUPPLY, ATTN: JAMIE, 496 ROUTE 38 E, MAPLE SHADE, NJ 08052-2036
519308755         +   SOUTHEAST ID, ATTN: DENNIS MORGN, 5830 NW 163RD STREET, MIAMI LAKES, FL 33014-5600
519308757         +   SOUTHEASTERN EXTRUSION TOOL, ATTN: JOE HANDBACK, PO BOX 2218, FLORENCE, AL 35630-0017
519308756         +   SOUTHEASTERN EXTRUSION TOOL, ATTN: JOE HANDBACK, 510 STAPLES DR., FLORENCE, AL 35630-6300
519308758         +   SPECIALTY SAW INC., ATTN: DAVID NAGY, 30 WOLCOTT RD., SIMSBURY, CT 06070-1445
519308759         +   SPECTRO ANALYTICAL INSTRUMENTS, INC., 91 MCKEE DR, MAHWAH, NJ 07430-2105
519308760         +   SPEEDY METALS,LLC, ATTN: AMY IDE, 2505 S. 162ND STREET, NEW BERLIN, WI 53151-2807
519308761             SPRAYING SYSTEMS CO., ATTN: LISA TARR, PO BOX 95564, CHICAGO, IL 60694-5564
519308762         +   SPRINGER PUMPS LLC, ATTN: VINCE, 861 TECH DRIVE, TELFORD, PA 18969-1183
519308764         +   STANTON A. MOSS INC, ATTN: STANTON MOSS, PO BOX 896, BRYN MAWR, PA 19010-0896
519308765             STAPLES ADVANTAGE, PO BOX 70242, PHILADELPHIA, PA 19176-0242
519308766             STATE METAL INDUSTRIES, INC., ATTN: YONNIE DORFM, PO BOX 1407, CAMDEN, NJ 08101-1407
519308767             STATE OF N.J. DCA, DCA BFCE - DORES, PO BOX 663, TRENTON, NJ 08646-0663
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519308562        ++ STATE OF NEW JERSEY, DIVISION OF TAXATION BANKRUPTCY UNIT, PO BOX 245, TRENTON NJ 08646-0245 address filed
                    with court:, NJ DIVISION OF TAXATION, AUDIT BILLING SECTION, PO BOX 275, TRENTON, NJ 08695-0275
519308770           STATE OF NEW JERSEY, DEPT OF LABOR, PO BOX 929, TRENTON, NJ 08646-0929
519308772           STATE OF NEW JERSEY, UNCLAIMED PROPERTY ADMINISTRATION, PO BOX 214, TRENTON, NJ 08635-0214
519308771           STATE OF NEW JERSEY, DOL & WORKFORCE DEVELOPMENT, PO BOX 392, TRENTON, NJ 08625-0392
519308769           STATE OF NEW JERSEY ATTORNEY GENERAL, RJ HUGHES JUSTICE COMPLEX, 25 MARKET ST., PO BOX 112, TRENTON,
                    NJ 08625-0112
519308773           STAUFFER MANUFACTURING CO., ATTN: ROBIN, PO BOX 45, RED HILL, PA 18076-0045
519308774         + STEEL DOORS INCORPORATED, 701 WASHINGTON AVENUE, PHILADELPHIA, PA 19147-4702
519308780         + STICKEL PACKAGING SUPPLY, 1991 RUTGERS UNIVERSITY BLVD, LAKEWOOD, NJ 08701-4538
519308781         + STOUT & CALDWELL, 705 US RT. 130 SOUTH, CINNAMINSON, NJ 08077-3371
519308782           STOUT CAPITAL, LLC, PO BOX 74701, CHICAGO, IL 60694-4701
519308783         + SUNBELT RENTALS, ATTN: JOHNOR JEFF, 3090 ROUTE 73 NORTH, MAPLE SHADE, NJ 08052-1031
519308784         + SUPER CIRCUITS, 11000 NORTH MOPAC EXPRESSWAY, AUSTIN, TX 78759-5969
519308785         + SUPERIOR POWDER COATING, ATTN: GLENN ASHTON, 600 PROGRESS STREET, ELIZABETH, NJ 07201-2018
519308786         + SUPPLYHOUSE.COM, 130 SPAGNOLI RD, MELVILLE, NY 11747-3502
519308790           SYMTAX INDUSTRIES, ATTN: TIM CHING, 601 W. BROADWAY, SUITE 400, VANCOUVER, BC V5Z 4C2, CANADA
519308791         + SYSTEM ONE HOLDINGS, LLC, ATTN: MIKE MURPHY, 429 EAST BROAD STREET, GIBBSTOWN, NJ 08027-1515
519298348         + Southeastern Extrusion Tool, 102 South Court Street, Suite 317, Florence, AL 35630-5633
519334122         + Sportsfield Specialists Inc., PO Box 231, Delhi, NY 13753-0231
519316908           State of New Jersey, Department of Treasury, Division of Taxation, PO Box 245, Trenton, NJ 08695-0245
519308792         + TAB SHREDDING INC., ATTN: MICHAEL, 341 COOPER ROAD, WEST BERLIN, NJ 08091-9144
519308793         + TABER EXTRUSIONS, LLC, 1900 34TH STREET, GULFPORT, MI 39501-6125
519308797         + TALEN ENERGY MARKETING, LLC, CO FITZPATRICK LENTZ & BUBBA, P.C., ATTN: JUAN P. CAMACHO, 645 WEST
                    HAMILTON STREET, SUITE 800, ALLENTOWN, NJ 18101-2197
519308796         + TALEN ENERGY MARKETING, LLC, CO FITZPATRICK LENTZ & BUBBA, P.C., ATTN: JOSEPH S. D'AMICO, JR., 645 WEST
                    HAMILTON STREET, SUITE 800, ALLENTOWN, NJ 18101-2197
519308798           TALEN ENERGY MARKETING, LLC, PO BOX 825510, PHILADELPHIA, PA 19182-5510
519308794         + TALEN ENERGY MARKETING, LLC, 2 NORTH 9TH STREET, ALLENTOWN, PA 18101-1139
519308801         + TANNER INDUSTRIES, INC., ATTN: BRAD TANNER, 735 DAVISVILLE ROAD, SOUTHHAMPTON, PA 18966-3282
519308804         + TAYLOR CORPORATION, ATTN: NAOMI, 600 ALBANY STREET, DAYTON, OH 45417-3405
519308805         + TEAM INDUSTRIAL SERVICES, ATTN: RAY WALLS, 500 PEDRICKTOWN RD, SWEDESBORO, NJ 08085-1918
519308806         + TEAMSTERS LOCAL 107, 12275 TOWNSEND RD., PHILADELPHIA, PA 19154-1204
519308807         + TEAMSTERS LOCAL 837 401K PLAN, 12275 TOWNSEND ROAD, PHILADELPHIA, PA 19154-1204
519308808         + TEAMSTERS LOCAL 837 401K PLAN, CO MARKOWITZ & RICHMAN, ATTN: THOMAS HERMAN KOHN, 123 S. BROAD
                    STREET, SUITE 2020, PHILADELPHIA, PA 19109-1057
519308809         + TEAMSTERS LOCAL 837 HEALTH AND WELFARE FUND, CO MARKOWITZ & RICHMAN, ATTN: MATTHEW D. AREMAN,
                    123 S. BROAD STREET, SUITE 2020, PHILADELPHIA, PA 19109-1057
519308810         + TEAMSTERS LOCAL 837 HEALTH AND WELFARE FUND, CO MARKOWITZ & RICHMAN, ATTN: THOMAS HERMAN
                    KOHN, 123 S. BROAD STREET, SUITE 2020, PHILADELPHIA, PA 19109-1057
519308812         + TEKSOLV, INC., ATTN: ERIC BISH, 130 EXECUTIVE DRIVE, NEWARK, DE 19702-3349
519308813           TENNANT, PO BOX 71414, CHICAGO, IL 60694-1414
519308814         + TEXAS ROADHOUSE, 1545 STREET ROAD, BENSALEM, PA 19020-4653
519308815         + THE ALUMINUM ASSOCIATION,, 1400 CRYSTAL DRIVE, ARLINGTON, VA 22202-4153
519308816           THE HARTFORD, GROUP BENEFITS, PO BOX 783690, PHILADELPHIA, PA 19178-3690
519308817         + THE PINNACLE GROUP, 1945 CAMINO VIDA ROBLE, CARLSBAD, CA 92008-6529
519308818         + THE TRAINING CENTER, 113 MONMOUTH ROAD, WRIGHTSTOWN, NJ 08562-2205
519308819         + THEODORE E. MOZER, INC., ATTN: JOE, PO BOX 25, PALMYRA, NJ 08065-0025
519308820           THERMIKA SYSTEMS INC., UNIT 2 169 GOLDEN DRIVE, COQUITLAM, BC V3K 6T1, CANADA
519308821           THERMO ORION, ATTN: TERRY, PO BOX 742783, ATLANTA, GA 30374-2783
519308822         + THOMAS SCIENTIFIC, ATTN: TOM KELLY, PO BOX 99, SWEDESBORO, NJ 08085-6099
519308823         + THOMAS WILLCOX CO. INC., ATTN: BOB, 613 JEFFERS CIRCLE, EXTON, PA 19341-2525
519308824         + THUMB TOOL & ENGINEERING, ATTN: BRIAN KUBE, 354 LIBERTY, BAD AXE, MI 48413-9302
519308825         + TIGER FINANCE, LLC, 340 N. WESTLAKE BLVD,SUITE 260, WESTLAKE VILLAGE, CA 91362-7036
519308826         + TIGER FINANCE, LLC, 99 PARK AVENUE, SUITE 1930, NEW YORK, NY 10016-1349
519308829         + TIP TEMPERATURE PRODUCTS, ATTN: DAN, 340 W BROAD STREET, BURLINGTON, NJ 08016-1412
519308830         + TITANIC CONTROLS INC., ATTN: CHUCK OR DIANE, 611-615 MORGAN AVE., DREXEL HILL, PA 19026-3105
519308831         + TOSHIBA, 3620 HORIZON DRIVE , SUITE 100, KING OF PRUSSIA, PA 19406-4706
519308832         + TPC WIRE & CABLE, ATTN: MINDI DUNN, 7061 EAST PLEASANT VALLEY RD, INDEPENDENCE, OH 44131-5543
519308834         + TRANSCON INC., ATTN: KEVIN O., 8824 TWIN BROOK ROAD, MENTOR, OH 44060-4391
519308835         + TRAVERS TOOL CO., INC., ATTN: KEVIN BYRD, PO BOX 541550, FLUSHING, NY 11354-7550
519308836           TREASURER - STATE OF N. J., PO BOX 417, TRENTON, NJ 08646-0417
519308837           TRELLEBORG WHEEL SYSTEMS, 6730 A WESTFIELD AVE, PENNSAUKEN, NJ 08110
519308838         + TRESCAL, ATTN: RACHEL, 47 LOVETON CIRCLE SUITE 1, SPARKS, MD 21152-9233
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519308842         + TRI-STATE INDUSTRIAL SUPPLIES, ATTN: BRANDON, 30 IRON HILL ROAD, NEW BRITAIN, PA 18901-5314
519308839         + TRINITY METALS, ATTN: BILL MCAULEY, 6400 ENGLISH AVE, INDIANAPOLIS, IN 46219-8227
519308840           TRIPLE M METAL, ATTN: GIDEON DENIS, 471 INTERMODAL DRIVE, BRAMPTON, ON L6T 5G4, CANADA
519308841         + TRIPLE-T CUTTING TOOLS, INC., ATTN: JOE CARACCIO, 135 EDGEWOOD AVE, WEST BERLIN, NJ 08091-2601
519308844         + TUFF TEMP CORPORATION, ATTN: BRETT GOLDBE, 3788 STERNER MILL ROAD, QUAKERTOWN, PA 18951-3202
519308845           TURTLE & HUGHES INC., ATTN: LISABOROWSKI, FORMERLY SCHLECTER, BRIDGEWATER, NJ 08807
519308846         + TUSTIN MECHANICAL SERVICES, 240 N. WHITE HORSE PIKE, HAMMONTON, NJ 08037-1855
519308847         + TUSTIN WATER SOLUTIONS, 2555 INDUSTRY LANE, NORRISTOWN, PA 19403-3933
519301737         + Talen Energy Marketing LLC, 600 Hamilton Street, Suite 600, Allentown, PA 18101-2130
519328285         + Teamsters Local 107, as bargaining agent for laid, 12275 Townsend Road, Philadelphia, PA 19154-1204
519328249         + Teamsters Local 107, as bargaining agent for laid, off employees of Debtor, 12275 Townsend Road, Philadelphia, PA 19154-1204
519328247         + Teamsters Local 837 401(k) Plan, 12275 Townsend Road, Philadelphia, PA 19154-1204
519328246         + Teamsters Local 837 Health & Welfare Fund, 12275 Townsend Road, Philadelphia, PA 19154-1287
519305250         + Timothy R. Hagan, 129 Grandview Drive, Pilesgrove, NJ 08098-1246
519308850         + U.S. DEPT HEALTH & HUMAN SERVICES, 200 INDEPENDENCE AVE, SW, WASHINGTON, DC 20201-0007
519308851           U.S. DEPARTMENT OF JUSTICE, 950 PENNSYLVANIA AVENUE, NW, WASHINGTON, DC 20530-0001
519308852         + U.S. DEPARTMENT OF LABOR, ERISA CIVIL PENALTIES, PO BOX 6200-36, PORTLAND, OR 97228-6299
519308853         + U.S. DEPARTMENT OF TRANSPORTATION, FEDERAL MOTOR CARRIER SAFETY ADMINISTRAT, 1200 NEW JERSEY
                    AVENUE, SE, WASHINGTON, DC 20590-0001
519308854         + U.S. ENVIRONMENTAL PROTECTION AGENCY, OFFICE OF GENERAL COUNSEL 2310A, 1200 PENNSYLVANIA AVENUE,
                    NW, WASHINGTON, DC 20460-0001
519308855           U.S. PLASTIC CORP., ATTN: SALES, 1390 NEUBRECHT RD., LIMA, OH 45801-3196
519308856         + U.S. SMALL BUSINESS ADMINISTRATION, REGION II, ATTN: MATT COLEMAN, REGIONAL COMMS DIR., 26 FEDERAL
                    PLAZA, SUITE 3108, NEW YORK, NY 10278-0004
519308858        ++ UGI ENERGY SERVICES LLC, ATTN CREDIT, 835 KNITTING MILLS WAY, WYOMISSING PA 19610-3078 address filed with
                    court:, UGI ENERGY SERVICES, LLC, ATTN: ROGER PERREAULT, 835 KNITTING MILLS WAY, WYOMISSING, PA 19610
519308860         + UGI ENERGY SERVICES, LLC, PO BOX 827032, PHILADELPHIA, PA 19182-7032
519308859         + UGI ENERGY SERVICES, LLC, CO DYER PETERSON, ATTN: GREGORY EDWIN PETERSON, 322 U.S. HIGHWAY 46, SUITE
                    220E, PARSIPPANY, NJ 07054-2364
519293406         + UGI Energy Services, Inc., 835 Knitting Mills Way, Wyomissing, Pennsylvania 19610-3078
519308862           ULTIMATE SOFTWARE, PO BOX 930953, ATLANTA, GA 31193-0953
519308863         + ULTRA-PAK, INC., ATTN: RON HOWARD, 49 NEWBOLD ROAD, FAIRLESS HILLS, PA 19030-4307
519308865           UNIFIRST, ATTN: JOAN OR SALES, PO BOX 650481, DALLAS, TX 75265-0481
519308864         + UNIFIRST HOLDINGS, INC., 68 JONSPIN ROAD, WILMINGTON, MA 01887-1086
519308866         + UNIS TRANSPORTATION, 30973 SANTANA ST., HAYWARD, CA 94544-7029
519308867         + UNITED PACKAGING SUPPLY CO., ATTN: DENISE REINE, 102 WHARTON RD, BRISTOL, PA 19007-1622
519308868           UNITED PARCEL SERVICE, PO BOX 650116, DALLAS, TX 75265-0116
519308870         + UNITED SITE SERVICES, PO BOX 130, KEASBEY, NJ 08832-0130
519308871           UNITED STATES ATTORNEY GENERAL, U.S. DEPT OF JUSTICE, BEN FRANKLIN STATION, WASHINGTON, DC 20044
519308874        #+ UNITED WAY OF SOUTHERN NJ, 1709 BENJAMIN FRANKLIN PKWY, PHILADELPHIA, PA 19103-1206
519308875         + UNITTOOL PUNCH & DIE CO. INC., ATTN: BILL PLUFF, 20 NORRIS STREET, BUFFALO, NY 14207-2207
519308876         + UNIVAR SOLUTIONS USA, ATTN: CRISTINA, 5 STEEL ROAD EAST, MORRISVILLE, PA 19067-3613
519308877         + UNIVAR USA INC., 3075 HIGHLAND PARKWAY, SUITE 200, DOWNERS GROVE, IL 60515-5560
519308878           UPS FREIGHT, PO BOX 650690, DALLAS, TX 75265-0690
519308879           UPS SUPPLY CHAIN SOLUTIONS, 28013 NETWORK PLACE, CHICAGO, IL 60673-1280
519308880         + US DEPARTMENT OF LABOR, OCCUPATIONAL SAFETY & HEALTH ADMINISTRAT, 200 CONSITUTION AVE, NW,
                    WASHINGTON, DC 20210-0001
519288939         + US Department of Labor - OSHA, 201 Varick Street, Room 983, New York, NY 10014-9448
519308881         + VALLEN, ATTN: JOHN MINARDI, 403 HERON DRIVE, SUITE D, SWEDESBORO, NJ 08085-1737
519308882         + VALLEY INDUSTRIAL RUBBER, ATTN: CUB, 3 SOUTH COMMERCE WAY, BETHLEHEM, PA 18017-8916
519308883         + VECTOR SECURITY, 854 SO WHITE HORSE PIKE, HAMMONTON, NJ 08037-2033
519308884         + VECTOR SECURITY, ATTN: COLLEEN, 854 S. WHITE HORSE PIKE, HAMMONTON, NJ 08037-2033
519308885         + VELOCITY LLC, 8600 RIVER ROAD, DELAIR, NJ 08110-3328
519308886        #+ VELOCITY VENTURE PARTNERS LLC, ATTN: TONY, 111 PRESIDENTIAL BLVD, BALA CYNWYD, PA 19004-1023
519308887         + VERIFIED FIRST, 1550 S. TECH LANE, MERIDIAN, ID 83642-8244
519308888           VERIMATION TECHNOLOGY INC., ATTN: BARBARA, 23883 INDUSTRIAL PARK DR., FARMINGTON HILLS, MI 48335-2860
519308890           VERIZON, PO BOX 16801, NEWARK, NJ 07101-6801
519308891         + VIBRATION SPECIALTY CORP., ATTN: BILL MCGUCKI, 100 GEIGER ROAD, PHILADELPHIA, PA 19115-1090
519308893         + VIKING TOOL & GAGE INC., ATTN: BRIAN BURNS, 11210 STATE HWY 18, CONNEAUT LAKE, PA 16316-3699
519308895           VISION SERVICE PLAN, PO BOX 742788, LOS ANGELES, CA 90074-2788
519308897         + VONNIEDA ENVIRONMENTAL, ATTN: MATT, 318 TUCKSON AVENUE, EPHRATA, PA 17522-2147
519310685         + Vesuvius USA Corporation, 5510 77 Center Drive, Suite 100, Charlotte, NC 28217, Attention: General Counsel, Charlotte, NC
                    28217-2729
519308899           W.B. MASON, PO BOX 981101, BOSTON, MA 02298-1101
            Case 21-16520-JNP Doc 349 Filed 01/12/22                                            Entered 01/13/22 00:12:37                       Desc
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519308901              +   WAGSTAFF, ATTN: BRENDA, 3910 NORTH FLORA ROAD, SPOKANE, WA 99216-1798
519308902              +   WAHL REFRACTORIES, INC., ATTN: LISA MORRISO, 767 ST. RTE 19 SOUTH, FREMONT, OH 43420-9260
519308903              +   WALMART, 2501 RT. 130 SOUTH, CINNAMINSON, NJ 08077-3075
519308904              +   WALT DE TREUX, 13034 RICHWOOD RD, PHILADELPHIA, PA 19116-1317
519308908              +   WARD TRUCKING, PO BOX 1553, ALTOONA, PA 16603-1553
519308910                  WASTE MANAGEMENT OF NEW JERSEY, INC., 107 SLLVLA STREET, EWING, NJ 08628
519308911                  WASTE STREAM MANAGEMENT INC., ATTN: ELLEN, 3635 WESTNEY ROAD N, GREENWOOD, ON L0H 1H0, CANADA
519308912              +   WEAVER OIL, PO BOX 185, THOROFARE, NJ 08086-0185
519308913              +   WEBSTER INSTRUMENT, INC., ATTN: CAROL, 11856 MISSISSIPPI AVENUE, LOS ANGELES, CA 90025-6115
519308914              +   WELLS FARGO BANK, N.A., PO BOX 63020, SAN FRANCISCO, CA 94163-9991
519308916              +   WEST CHESTER RECYCLING, ATTN: STU, PO BOX 354, WEST CHESTER, PA 19381-0354
519308917                  WESTERN EXPRESS INC., PO BOX 935315, ATLANTA, GA 31193-5315
519308918              +   WHARTON CONTRACTORS EQUIPMENT, 7724 CRESCENT BLVD, PENNSAUKEN, NJ 08110-2523
519308919              +   WHARTON HARDWARE & SUPPLY CORP, ATTN: CJ OR STEVE, 7724 CRESCENT BLVD., PENNSAUKEN, NJ 08110-2595
519308920              +   WHARTON HARDWARE & SUPPLY CORP., ATTN: CAROLE STROBEL, 7724 N CRESCENT BLVD., PENNSAUKEN
                           TOWNSHIP, NJ 08110-2595
519308925              +   WILLIER ELEC. MOTOR CO., INC., ATTN: KURT, PO BOX 98, GIBBSBORO, NJ 08026-0098
519308928              +   WILTECH, INC, ATTN: GARY KUHN, 405-A SOUTHGATE COURT, MICKLETON, NJ 08056-1269
519308929              +   WINCO FLUID POWER INC., ATTN: GLENNA SMITH, 4030 SKYRON DRIVE, DOYLESTOWN, PA 18902-1135
519308931              +   WM OF CAMDEN INC., ATTN: DOUG HAGER, 1001 FAIRVIEW ST., CAMDEN, NJ 08104-2621
519308932              +   WORLD WIDE METRIC, 67 VERONICA AVE., SOMERSET, NJ 08873-3466
519314681              +   Wells Fargo Bank, N.A, 800 Walnut Street MAC F0005-055, Des Moines, IA 50309-3891
519300656              +   Wells Fargo Bank, N.A., Small Business Lending Division, P.O. Box 29482 MAC S4101-08C, Phoenix, AZ 85038-9482
519308933                  XIAMEN FREEDE INDUSTRY CO.,LTD, ATTN: GARY YUAN, FEICHENG, TAIAN, SHANDONG CHINA
519308934              +   XL PROFESSIONAL INSURANCE, 100 CONSTITUTION PLAZA, 13TH FLOOR, HARTFORD, CT 06103-1703
519308935              +   XL SPECIALTY INSURANCE COMPANY, 70 SEAVIEW AVE, STAMFORD, CT 06902-6040
519308936                  XO COMMUNICATIONS LLC, A VERIZON COMPANY, ALBANY, NY 12212-5043
519308937                  XPO LOGISTICS, CHICAGO LOCKBOX 29559, CHICAGO, IL 60673-1599
519308938              +   XTEL COMMUNICATIONS, 10 LAKE CENTER EXECUTIVE PARK, SUITE 106, 401 ROUTE 73 NORTH, MARLTON, NJ
                           08053-3429
519308939                  XTEL COMMUNICATIONS, PO BOX 71402, PHILADELPHIA, PA 19176-1402
519308940              +   XTEL COMMUNICATIONS, INC., 10000 MIDLANTIC DR, SUITE 410E, MT LAUREL TOWNSHIP, NJ 08054-1537
519308941                  XYLEM WATER SOLUTIONS USA, ATTN: RICK IRWIN, 26717 NETWORK PLACE, CHICAGO, IL 60673-1267
519308946              +   Y-PERS, ATTN: FRANK, PO BOX 9559, PHILADELPHIA, PA 19124-0559
519308942              +   YARD TRUCK SPECIALIST, INC., ATTN: BOB, 1510 FORD RD., BENSALEM, PA 19020-4506
519308944                  YOKOGAWA, PO BOX 409220, ATLANTA, GA 30384-9220
519308947                  YRC FREIGHT, ATTN: ANN SHUSTER, PO BOX 13573, NEWARK, NJ 07188-3573
519329205              +   Yard Truck Specialists, 4200 Casteel Drive, Coraopolis, PA 15108-9725
519305124              +   Youngstown Tool & Die Co., LLC, Attn. Dave Lang, 2572 Salt Springs Rd., Youngstown OH 44509-1030
519308949              +   ZIPTIE.COM, 578 KENNEDY RD, AKRON, OH 44305-4426
519308950                  ZORO TOOLS, PO BOX 5233, JANESVILLE, WI 53547-5233

TOTAL: 787

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
smg                        Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Jan 10 2022 20:47:00      Dist Dir of IRS, Insolvency Function, PO Box 724,
                                                                                                                  Springfield, NJ 07081-0724
smg                        Email/Text: usanj.njbankr@usdoj.gov
                                                                                        Jan 10 2022 20:47:00      U.S. Attorney, 970 Broad St., Room 502, Rodino
                                                                                                                  Federal Bldg., Newark, NJ 07102-2534
smg                    + Email/Text: ustpregion03.ne.ecf@usdoj.gov
                                                                                        Jan 10 2022 20:47:00      United States Trustee, Office of the United States
                                                                                                                  Trustee, 1085 Raymond Blvd., One Newark
                                                                                                                  Center, Suite 2100, Newark, NJ 07102-5235
intp                       Email/Text: bankruptcycoordinator@dep.nj.gov
                                                                                        Jan 10 2022 20:47:00      New Jersey Department of Environmental
                                                                                                                  Protection, 401 E. State St., Trenton, NJ 08625
519307074                  Email/Text: gusiv@acschultes.com
                                                                                        Jan 10 2022 20:47:00      A.C. Schultes, Inc., ATTN: Ed Schultes, 664 S.
                                                                                                                  Evergreen Avenue, Woodbury Heights NJ 08097
519307940              + Email/Text: SHERRI.MASSEY@AMCOLCORP.COM
                                                                                        Jan 10 2022 20:48:00      AMCOL CORPORATION, 21435 DEQUINDRE,
                                                                                                                  HAZEL PARK, MI 48030-2350
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519307945           Email/PDF: bncnotices@becket-lee.com
                                                                            Jan 10 2022 20:54:14   AMERICAN EXPRESS, PO BOX 1270,
                                                                                                   NEWARK, NJ 07101-1270
519307944           Email/PDF: bncnotices@becket-lee.com
                                                                            Jan 10 2022 20:54:14   AMERICAN EXPRESS, ATTN: STEPHEN J.
                                                                                                   SQUERI, THREE WORLD FINANCIAL
                                                                                                   CENTER, 200 VESEY STREET, NEW YORK,
                                                                                                   NY 10285-4803
519307965         + Email/Text: arnoldslock.AR@gmail.com
                                                                            Jan 10 2022 20:48:00   ARNOLDS SAFE & LOCK CO. INC., ATTN:
                                                                                                   ED, 3615 HADDONFIELD RD, PENNSAUKEN,
                                                                                                   NJ 08109-3707
519307986         + Email/Text: scottp@billows.com
                                                                            Jan 10 2022 20:47:00   BILLOWS ELECTRIC SUPPLY CO., ATTN:
                                                                                                   MATT, 9100 STATE ROAD, PHILADELPHIA,
                                                                                                   PA 19136-1618
519308016           Email/Text: aquigley@cappusa.com
                                                                            Jan 10 2022 20:47:00   CAPP INC, ATTN: MAUREEN, 201 MARPLE
                                                                                                   AVE, CLIFTON HEIGHTS, PA 19018-0127
519308833           Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                            Jan 10 2022 20:54:09   TRACTOR SUPPLY, 5401 VIRGINIA WAY,
                                                                                                   BRENTWOOD, TN 37027
519343280           Email/Text: litigation.recoverybkmailbox@dllgroup.com
                                                                            Jan 10 2022 20:47:00   De Lage Landen Financial Services, INC, 1111
                                                                                                   Old Eagle School Road, Wayne, PA 19087
519308410           Email/Text: litigation.recoverybkmailbox@dllgroup.com
                                                                            Jan 10 2022 20:47:00   KONICA MINOLTA PREMIER FINANCE, PO
                                                                                                   BOX 41602, PHILADELPHIA, PA 19101-1602
519308431           Email/Text: litigation.recoverybkmailbox@dllgroup.com
                                                                            Jan 10 2022 20:47:00   LESLIE DIGITAL IMAGING, PO BOX 41602,
                                                                                                   PHILADELPHIA, PA 19101-1602
519308136         + Email/Text: arubin@docutrend.com
                                                                            Jan 10 2022 20:47:00   DOCUTREND IMAGING SOLUTIONS, ATTN:
                                                                                                   BILL FOSTER, 575 8TH AVE, FL10, NEW
                                                                                                   YORK, NY 10018-3525
519308157         + Email/Text: jstauffe_bk@ebay.com
                                                                            Jan 10 2022 20:48:00   EBAY, 2025 HAMILTON AVENUE, SAN JOSE,
                                                                                                   CA 95125-5904
519308170         + Email/Text: wps_bankruptcy@bradycorp.com
                                                                            Jan 10 2022 20:47:00   EMED COMPANY, INC., ATTN: JASON, PO
                                                                                                   BOX 369, BUFFALO, NY 14240-0369
519308178           Email/Text: mary.e.bushyhead@ehi.com
                                                                            Jan 10 2022 20:47:00   ENTERPRISE RENT A CAR, EAN SERVICES,
                                                                                                   LLC, PO BOX 402383, ATLANTA, GA
                                                                                                   30384-2383
519308195         + Email/Text: sternback@heitnerbreitstein.com
                                                                            Jan 10 2022 20:47:00   EULER HERMES NORTH AMERICA INS, C/O
                                                                                                   HEITNER & BREITSTEIN, ATTN: CARY R.
                                                                                                   STERNBACK, 28 N MAIN ST 1429,
                                                                                                   MARLBORO, NJ 07746-1429
519308201         + Email/Text: melinda.tiffany@examinetics.com
                                                                            Jan 10 2022 20:47:00   EXAMINETICS, ATTN: SEAN WEST, 10561
                                                                                                   BARKLEY PLACE, OVERLAND PARK, KS
                                                                                                   66212-1860
519295159           Email/Text: EBNBKNOT@ford.com
                                                                            Jan 10 2022 20:48:00   Ford Motor Credit Company LLC, P.O. Box
                                                                                                   62180, Colorado Springs, CO 80962
519286800         + Email/Text: legal@fastenal.com
                                                                            Jan 10 2022 20:47:00   Fastenal Company, Attn: Legal, 2001 Theurer
                                                                                                   Blvd, Winona, MN 55987-9902
519300545         + Email/Text: sternback@heitnerbreitstein.com
                                                                            Jan 10 2022 20:47:00   IFM ECECTOR INC, C/O HEITNER &
                                                                                                   BREITSTEIN, p.c., PO BOX 270, WICKATUNK
                                                                                                   NJ 07765-0270
519308402         + Email/Text: AR@KEYENCE.COM
                                                                            Jan 10 2022 20:47:00   KEYENCE CORPORATION OF AMERICA,
                                                                                                   ATTN: TIM ADRIAN, 669 RIVER DRIVE,
                                                                                                   SUITE 403, ELMWOOD PARK, NJ 07407-1361
519308404         + Email/Text: debbie.cavallaro@keystonefire.com
                                                                            Jan 10 2022 20:47:05   KEYSTONE FIRE PROTECTION CO., ATTN:
                                                                                                   BOB CLIFTON, 433 INDUSTRIAL DRIVE,
                                                                                                   NORTH WALES, PA 19454-4150
519308514         + Email/Text: AR@mcggroup.com
                                                                            Jan 10 2022 20:48:00   MONTGOMERY COSCIA GREILICH LLP,
                                                                                                   2500 DALLAS PARKWAY, SUITE 300,
                                                                                                   PLANO, TX 75093-4872
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519308521         + Email/Text: creditdept3rdpartyBKR@mscdirect.com
                                                                              Jan 10 2022 20:47:00   MSC INDUSTRIAL SUPPLY COMPANY, PO
                                                                                                     BOX 9072, MELVILLE, NY 11747-9072
519308543         + Email/Text: bankruptcycoordinator@dep.nj.gov
                                                                              Jan 10 2022 20:47:00   NEW JERSEY DEPT OF ENVIRON.
                                                                                                     PROTECTION, DIVISION OF SOLID AND
                                                                                                     HAZARDOUS WASTE, 401 E STATE ST,
                                                                                                     TRENTON, NJ 08608-1501
519308553         + Email/Text: NJTax.BNCnoticeonly@treas.nj.gov
                                                                              Jan 10 2022 20:47:00   NEW JERSEY DIVISION OF TAXATION, 3
                                                                                                     JOHN FITCH WAY, 5TH FLOOR, TRENTON,
                                                                                                     NJ 08695-0001
519308619         + Email/Text: bncctnotifications@pbgc.gov
                                                                              Jan 10 2022 20:47:00   PENSION BENEFIT GUARANTY CORP, DIR.
                                                                                                     CORP. FINANCE & NEGOTIATION DEPT.,
                                                                                                     1200 K STREET NW, WASHINGTON, DC
                                                                                                     20005-4026
519308620         + Email/Text: bncctnotifications@pbgc.gov
                                                                              Jan 10 2022 20:47:00   PENSION BENEFIT GUARANTY CORP,
                                                                                                     GENERAL COUNSEL, 1200 K STREET NW,
                                                                                                     WASHINGTON, DC 20005-4026
519308622         + Email/Text: djohnson@pshinc.com
                                                                              Jan 10 2022 20:47:00   PERFECTION SERVO HYDRAULICS, 1290
                                                                                                     LYON ROAD, BATAVIA, IL 60510-1389
519308648         + Email/Text: bknotices@providentnj.com
                                                                              Jan 10 2022 20:48:00   PROVIDENT BANK, 239 WASHINGTON
                                                                                                     STREET, JERSEY CITY, NJ 07302-3828
519308654         + Email/Text: jacwit@pyrotek-inc.com
                                                                              Jan 10 2022 20:47:01   PYROTEK INC., 1285 CLAREMONT ROAD,
                                                                                                     CARSLILE, PA 17015-9727
519308656           Email/Text: jacwit@pyrotek-inc.com
                                                                              Jan 10 2022 20:47:01   PYROTEK INCORPORATED, ATTN: GREG
                                                                                                     WALSH, 100 CLEARBROOK ROAD,
                                                                                                     ELMSFORD, NY 10523-1116
519308711         + Email/Text: andrea@roviproducts.com
                                                                              Jan 10 2022 20:48:00   ROVI PRODUCTS INC, 4648 RUNWAY ST B,
                                                                                                     SIMI VALLEY, CA 93063-3450
519308718         + Email/Text: bankruptcy@safety-kleen.com
                                                                              Jan 10 2022 20:47:00   SAFETY-KLEEN CORP., 123 RED LION
                                                                                                     ROAD, SOUTHAMPTON, NJ 08088-8830
519308730         + Email/Text: odentracklegal@sentry.com
                                                                              Jan 10 2022 20:47:00   SENTRY INSURANCE, ATTN: PETER G.
                                                                                                     MCPARTLAND, 1800 NORTH POINT DRIVE,
                                                                                                     STEVENS POINT, WI 54481-1283
519308763         + Email/Text: kwinkelvoss@sriregistrar.com
                                                                              Jan 10 2022 20:47:00   SRI QUALITY SYSTEM REGISTRAR, ATTN:
                                                                                                     LARA MAJOR, 300 NORTHPOINTE CIRCLE,
                                                                                                     SUITE 304, SEVEN FIELDS, PA 16046-7862
519287104           Email/Text: thomas.riggleman@staples.com
                                                                              Jan 10 2022 20:47:00   Staples Business Advantage, 7 Technology Circle,
                                                                                                     Columbia, SC 29203
519286744         + Email/PDF: gecsedi@recoverycorp.com
                                                                              Jan 10 2022 20:54:18   Synchrony Bank, c/o of PRA Receivables
                                                                                                     Management, LLC, PO Box 41021, Norfolk, VA
                                                                                                     23541-1021
519308617           Email/Text: tax@twp.pennsauken.nj.us
                                                                              Jan 10 2022 20:47:00   PENNSAUKEN TOWNSHIP, ATTN: DANA
                                                                                                     SURGNER, MUNICIPAL BUILDING, 5605 N.
                                                                                                     CRESCENT BLVD, PENNSAUKEN, NJ 08110
519308861           Email/Text: accounts.receivable@uline.com
                                                                              Jan 10 2022 20:48:00   ULINE SHIPPING SUPPLIES, ATTN: HOLLY,
                                                                                                     PO BOX 88741, CHICAGO, IL 60680-1741
519308872         + Email/Text: usanj.njbankr@usdoj.gov
                                                                              Jan 10 2022 20:47:00   UNITED STATES ATTORNEY, PETER
                                                                                                     RODINO FEDERAL BUILDING, 970 BROAD
                                                                                                     STREET, SUITE 700, NEWARK, NJ 07102-2527
519308889         + Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                             Jan 10 2022 20:47:00    VERIZON WIRELESS, PO BOX 4003,
                                                                                                     ACWORTH, GA 30101-9004
519308896           Email/Text: BNCnotices@vfsco.com
                                                                              Jan 10 2022 20:47:00   VOLVO FINANCIAL SERVICES, PO BOX
                                                                                                     7247-0236, PHILADELPHIA, PA 19170-0236
519308900         + Email/Text: kandy.moyer@wabashnational.com
                                                                              Jan 10 2022 20:48:00   WABASH NATIONAL, PO BOX 6129,
                                                                                                     LAFAYETTE, IN 47903-6129
519329211         + Email/Text: usz.bankruptcy.legal.coll@zurichna.com
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                                                                                   Jan 10 2022 20:47:00     Zurich American Insurance, PO Box 68549,
                                                                                                            Schaumburg, IL 60168-0549

TOTAL: 49


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID        Bypass Reason Name and Address
519307890                     AARON GIBBS, ADDRESS ON FILE
519307891                     AARON TURNER, ADDRESS ON FILE
519307894                     ABRAHAM VAZQUEZ, ADDRESS ON FILE
519307899                     ADAM JONES, ADDRESS ON FILE
519307917                     ALADINO J RIVERA, ADDRESS ON FILE
519307920                     ALEXANDER ARTHUR SANDERS, ADDRESS ON FILE
519307921                     ALEXANDER RIVERA, ADDRESS ON FILE
519307922                     ALEXANDER SANDERS, ADDRESS ON FILE
519307923                     ALEXIS SCARFO, ADDRESS ON FILE
519307924                     ALI SOPAJ, ADDRESS ON FILE
519307937                     AMANDA RENE SCHOFIELD, ADDRESS ON FILE
519307952                     AMJAD SHAHIN, ADDRESS ON FILE
519307954                     ANDRE KNOX, ADDRESS ON FILE
519307955                     ANDREW M LOWE, ADDRESS ON FILE
519307956                     ANGEL L JORGE, ADDRESS ON FILE
519307957                     ANGEL L RODRIGUEZ, ADDRESS ON FILE
519307958                     ANGEL MOORE, ADDRESS ON FILE
519307959                     ANTHONY LY, ADDRESS ON FILE
519307963                     ARIEL M CRUZ, ADDRESS ON FILE
519307973                     BARRETT B SUNKETT, ADDRESS ON FILE
519307974                     BARRETT B. SUNKETT, ADDRESS ON FILE
519307975                     BARTLETT ALLEN, ADDRESS ON FILE
519307981                     BEEPER LAM, ADDRESS ON FILE
519307995                     BOUNTRY MAOXOMPHU, ADDRESS ON FILE
519308003                     BRUCE WENDELL ROSS, ADDRESS ON FILE
519308004                     BRYAN BRICENO, ADDRESS ON FILE
519308006                     BUN CHHOEURTH SAO, ADDRESS ON FILE
519308010                     CALVIN JOHNSON, ADDRESS ON FILE
519308014                     CAMERON COLSTON, ADDRESS ON FILE
519308019                     CARLOS GONZALEZ, ADDRESS ON FILE
519308020                     CARLOS M RODRIGUEZ, ADDRESS ON FILE
519308021                     CARLOS ORENGO, ADDRESS ON FILE
519308031                     CESAR ACETTI, ADDRESS ON FILE
519308034                     CHANG X WU, ADDRESS ON FILE
519308035                     CHARLES J BARTHOLOMAI, ADDRESS ON FILE
519308036                     CHARLES L DAVIS, ADDRESS ON FILE
519308038                     CHARLES POK, ADDRESS ON FILE
519308040                     CHERYL DRACH, ADDRESS ON FILE
519308042                     CHRISTOPHER BERTHIAUME, ADDRESS ON FILE
519308043                     CHRISTOPHER F SIEG, ADDRESS ON FILE
519308044                     CHRISTOPHER J. GIFFORD, ADDRESS ON FILE
519308045                     CHRISTOPHER S WAJDA, ADDRESS ON FILE
519308048                     CIANEL PALMER, ADDRESS ON FILE
519308077                     COURTNEY D BENNETT, ADDRESS ON FILE
519308080                     CRAIG SNYDER, ADDRESS ON FILE
519308092                     DALE R BAILEY, ADDRESS ON FILE
519308093                     DANEEJA HARRIS, ADDRESS ON FILE
519308094                     DANIEL A LOPEZ, ADDRESS ON FILE
519308095                     DANIEL DEMARTINO, ADDRESS ON FILE
519308096                     DANIEL DUWA, ADDRESS ON FILE
519308097                     DANIEL LEIGH GRAVES, ADDRESS ON FILE
519308098                     DANIEL M RAMSEY, ADDRESS ON FILE
519308101                     DANTE J BLACKNALL, ADDRESS ON FILE
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519308102                 DARIUS TEREK LOCKHART, ADDRESS ON FILE
519308103                 DAVID H MERKH, ADDRESS ON FILE
519308104                 DAVID J BENNER, ADDRESS ON FILE
519308105                 DAVID J FREEMAN, ADDRESS ON FILE
519308106                 DAVID J HAENN, ADDRESS ON FILE
519308107                 DAVID ROTHERMEL, ADDRESS ON FILE
519308108                 DAVID SAMUEL DECARA, ADDRESS ON FILE
519308109                 DECHAO CHEN, ADDRESS ON FILE
519308113                 DENISE GOLDMAN, ADDRESS ON FILE
519308118                 DEREK MASSEY, ADDRESS ON FILE
519308119                 DERRICK FISHER, ADDRESS ON FILE
519308120                 DEWAYNE JOHNSON, ADDRESS ON FILE
519308137                 DONALD CHAMBERS, ADDRESS ON FILE
519308138                 DONALD HENRY, ADDRESS ON FILE
519308140                 DORMA, DORMA DRIVE, DRAWER AC
519308141                 DOUGLAS BAILEY, ADDRESS ON FILE
519308142                 DOUGLAS BATHAUER, ADDRESS ON FILE
519308143                 DOUGLAS G RIVERA, ADDRESS ON FILE
519308144                 DOUGLAS GEORGE MERTZ, ADDRESS ON FILE
519308145                 DOUGLAS JONES, ADDRESS ON FILE
519308146                 DR. MICHAEL R. HAGY, ADDRESS ON FILE
519308148                 DYRON JEROME ABRAHAM, ADDRESS ON FILE
519308159                 EDGAR R. RUGAMA, ADDRESS ON FILE
519308160                 EDGAR STEMPLE JR, ADDRESS ON FILE
519308161                 EDUARDO A OBREGON, ADDRESS ON FILE
519308162                 EDUARDO G NARVAEZ, ADDRESS ON FILE
519308163                 EDUARDO JIMENEZ, ADDRESS ON FILE
519308164                 EDWARD F FRICKER, ADDRESS ON FILE
519308166                 EDWIN MEDINA, ADDRESS ON FILE
519308167                 EDWIN TORRES, ADDRESS ON FILE
519308168                 ELIZ CASILLA, ADDRESS ON FILE
519308172                 EMILY SCARFO, ADDRESS ON FILE
519308187                 ERIC BOATWRIGHT, ADDRESS ON FILE
519308188                 ERIC JEROME REED, ADDRESS ON FILE
519308189                 ERIC ROUSE, ADDRESS ON FILE
519308190                 ERICK M CASTANEDA, ADDRESS ON FILE
519308193                 EUGENE DYKES, ADDRESS ON FILE
519308194                 EUGENE MATTHEW HALL, ADDRESS ON FILE
519308198                 EVERITTE A PERRY, ADDRESS ON FILE
519308211                 FENG ZHU, ADDRESS ON FILE
519308213                 FERDINAND VASQUEZ, ADDRESS ON FILE
519308219                 FRANCISCO RODRIGUEZ, ADDRESS ON FILE
519308220                 FRANCISCO S DEFRANK, ADDRESS ON FILE
519308223                 FREDRICK J HOWARD, ADDRESS ON FILE
519308229                 GABRIEL MENDEZ, ADDRESS ON FILE
519308235                 GEORGE RIDER, ADDRESS ON FILE
519308237                 GERALDO MEDINA, ADDRESS ON FILE
519308238                 GERARDO SOTO, ADDRESS ON FILE
519308251                 GODFREY V LASTIQUE, ADDRESS ON FILE
519308265                 HABIB KAMARA, ADDRESS ON FILE
519308267                 HAFEEZ REHMAN, ADDRESS ON FILE
519308271                 HAMED N TOURE, ADDRESS ON FILE
519308275                 HARPAL S BADECHHA, ADDRESS ON FILE
519308277                 HENRY SANTIAGO, ADDRESS ON FILE
519308279                 HERIBERTO LOPEZ, ADDRESS ON FILE
519308292                 HOWARD CRAMER, ADDRESS ON FILE
519308293                 HOWARD GARDINER, ADDRESS ON FILE
519308294                 HOWARD HARRIS, ADDRESS ON FILE
519308295                 HOWARD JACKSON, ADDRESS ON FILE
519308297                 HUGH RIVERS, ADDRESS ON FILE
519308299                 HUNG THANH KHA, ADDRESS ON FILE
519308328                 IRENE A FOSTER, ADDRESS ON FILE
519308329                 IRMA JANNET CINTRON-BULLOCK, ADDRESS ON FILE
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519308330                 ISMAEL RUBERT, ADDRESS ON FILE
519308331                 ISRAEL F CINTRON, ADDRESS ON FILE
519308334                 JACKIE SCARFO, ADDRESS ON FILE
519308335                 JACKY CHEUNG, ADDRESS ON FILE
519308336                 JACOB FLOYD SCHOTTMAN, ADDRESS ON FILE
519308337                 JACQUELINE LABAW, ADDRESS ON FILE
519308338                 JACQUELINE N SCARFO, ADDRESS ON FILE
519308340                 JAIRO CORDOBA, ADDRESS ON FILE
519308341                 JAMES C WHITTAKER, ADDRESS ON FILE
519308342                 JAMES L STANLEY, ADDRESS ON FILE
519308343                 JAMES M SUBER, ADDRESS ON FILE
519308344                 JAMES R CACKOWSKI, ADDRESS ON FILE
519308345                 JAMES STANLEY, ADDRESS ON FILE
519308346                 JAMES T MATTHEWS, ADDRESS ON FILE
519308347                 JAMES WHEELER, ADDRESS ON FILE
519308348                 JAMES WHITE, ADDRESS ON FILE
519308349                 JAMMIE DANIEL HAGINS, ADDRESS ON FILE
519308350                 JANET DEVINCENTIS, ADDRESS ON FILE
519308351                 JARROD BIRNEY, ADDRESS ON FILE
519308352                 JAWAHARLAL SODERA, ADDRESS ON FILE
519308356                 JEFFREY MACFARLAND, ADDRESS ON FILE
519308357                 JHAHAAD K CARSON, ADDRESS ON FILE
519308358                 JIACAN XU, ADDRESS ON FILE
519308359                 JIM WHITTAKER, ADDRESS ON FILE
519308360                 JOANNE RASPA, ADDRESS ON FILE
519308361                 JOHN ANNING, ADDRESS ON FILE
519308363                 JOHN M ANNING, ADDRESS ON FILE
519308364                 JOHN R NEILING, ADDRESS ON FILE
519308365                 JOHN STEVENS, ADDRESS ON FILE
519308368                 JONATHAN B WILSON, ADDRESS ON FILE
519308369                 JOSE J MANANA, ADDRESS ON FILE
519308370                 JOSE M ECHEVARRIA, ADDRESS ON FILE
519308371                 JOSE R LOPEZ, ADDRESS ON FILE
519308372                 JOSEPH BALL, ADDRESS ON FILE
519308373                 JOSEPH COCCIOLONE, ADDRESS ON FILE
519308377                 JOSEPH HUYN, ADDRESS ON FILE
519308378                 JOSEPH J HOWARTH, ADDRESS ON FILE
519308379                 JOSEPH M STOCKETTE, ADDRESS ON FILE
519308380                 JOSEPH PAUL BODNAR, ADDRESS ON FILE
519308381                 JOSEPH R FLEETWOOD, ADDRESS ON FILE
519308382                 JOSEPH RASPA JR, ADDRESS ON FILE
519308383                 JOSEPH TURICK, ADDRESS ON FILE
519308384                 JOSEPH W SCHAFER, ADDRESS ON FILE
519308385                 JOSHUA CARDONA, ADDRESS ON FILE
519308387                 JUAN JUNIOR CASIANO, ADDRESS ON FILE
519308389                 JULIAN A JIMENEZ, ADDRESS ON FILE
519308395                 KARL HENZE, ADDRESS ON FILE
519308399                 KELVIN DUY PHAM, ADDRESS ON FILE
519308400                 KENNETH W CREELY, ADDRESS ON FILE
519308401                 KEVIN GATTON, ADDRESS ON FILE
519308403                 KEYON LAMAR WATKINS, ADDRESS ON FILE
519308414                 KRISTOPHER KEARNEY, ADDRESS ON FILE
519308416                 KULWINDER SINGH, ADDRESS ON FILE
519308417                 KWAME KING, ADDRESS ON FILE
519308418                 KY VAN NGUYEN, ADDRESS ON FILE
519308421                 LAMONT D LLOYD, ADDRESS ON FILE
519308424                 LASHANDA Q EDWARDS, ADDRESS ON FILE
519308425                 LAWRENCE J BOBROWSKI, ADDRESS ON FILE
519308426                 LAWRENCE SHORT, ADDRESS ON FILE
519308430                 LEO JAMES MCCLOSKY, ADDRESS ON FILE
519308439                 LOC PHUOC NGUYEN, ADDRESS ON FILE
519308445                 LORI L. SCARFO, ADDRESS ON FILE
519308447                 LUIS ALVARADO, ADDRESS ON FILE
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519308448                 LUIS DEFRANK, ADDRESS ON FILE
519308455                 MAI TRAN, ADDRESS ON FILE
519308458                 MAN CHI LOI, ADDRESS ON FILE
519308463                 MARIANO RAMOS, ADDRESS ON FILE
519308464                 MARIE A FEENEY, ADDRESS ON FILE
519308465                 MARK A PIERCE, ADDRESS ON FILE
519308467                 MARK MANDERS, ADDRESS ON FILE
519308468                 MARK SUMMERS, ADDRESS ON FILE
519308471                 MARLON L ROSE, ADDRESS ON FILE
519308477                 MATTHEW E MCCOURT, ADDRESS ON FILE
519308481                 MELANIE PHAN, ADDRESS ON FILE
519308488                 MEREDITH MILLER CHASE, ADDRESS ON FILE
519308494                 MICHAEL ABDILL, ADDRESS ON FILE
519308496                 MICHAEL E GROH, ADDRESS ON FILE
519308497                 MICHAEL HAGY, ADDRESS ON FILE
519308498                 MICHAEL J HEINTZELMAN, ADDRESS ON FILE
519308499                 MICHAEL UDZINSKI, ADDRESS ON FILE
519308500                 MICHAEL V MUNS, ADDRESS ON FILE
519308501                 MICHAEL W SHARKEY, ADDRESS ON FILE
519308502                 MICHELLE KRISTY CINTRON, ADDRESS ON FILE
519308506                 MILA VASA, ADDRESS ON FILE
519308507                 MINH CONG NGUYEN, ADDRESS ON FILE
519308512                 MONG T VO, ADDRESS ON FILE
519308526                 MURMOND T WILLIAMS, ADDRESS ON FILE
519308532                 NATHAN ALEXANDER SANDERS, ADDRESS ON FILE
519308559                 NGAN VAN LE, ADDRESS ON FILE
519308560                 NICHOLAS ALEXANDER SANDERS, ADDRESS ON FILE
519308561                 NICOLA TOSTO, ADDRESS ON FILE
519308584                 OMAR HICKS, ADDRESS ON FILE
519308591                 ORLANDO ECHEVARRIA, ADDRESS ON FILE
519308593                 OVIDIO VAZQUEZ, ADDRESS ON FILE
519308605                 PATRICIA F STEFANICK, ADDRESS ON FILE
519308607                 PATRICK MICHEAL CLARK, ADDRESS ON FILE
519308608                 PAUL ARMSTRONG III, ADDRESS ON FILE
519308609                 PAUL J BEEKLER, ADDRESS ON FILE
519308638                 PORCHEA M MATTHEWS, ADDRESS ON FILE
519308662                 QUILVIO GONZALEZ, ADDRESS ON FILE
519308667                 RAFAEL RIVERA, ADDRESS ON FILE
519308669                 RALPH LEONARDO, ADDRESS ON FILE
519308670                 RAMON C PEDRAZA, ADDRESS ON FILE
519308671                 RANDY D COOPER, ADDRESS ON FILE
519308674                 RASUL ABDULLAH, ADDRESS ON FILE
519308675                 RAYMOND HENRY, ADDRESS ON FILE
519308676                 RAYMOND METCALF JR, ADDRESS ON FILE
519308677                 RAYMOND PAYNE, ADDRESS ON FILE
519308680                 REGINALD WATKINS, ADDRESS ON FILE
519308685                 REY AROCHO, ADDRESS ON FILE
519308686                 REY O ECHEVARRIA, ADDRESS ON FILE
519308687                 REYNALDO IVAN SANCHEZ, ADDRESS ON FILE
519308689                 RICHARD H FORD, ADDRESS ON FILE
519308690                 RICHARD J DEVINCENTIS, ADDRESS ON FILE
519308691                 RICHARD REUSCH, ADDRESS ON FILE
519308692                 RICHARD STEPHEN SIMON, ADDRESS ON FILE
519308693                 RICHARD VITARELLE, ADDRESS ON FILE
519308694                 ROBERT DOUGHERTY, ADDRESS ON FILE
519308696                 ROBERT KUCHERA, ADDRESS ON FILE
519308697                 ROBERT MOSS, ADDRESS ON FILE
519308698                 ROBERT MULLAN, ADDRESS ON FILE
519308699                 ROBERT OTTERBEIN, ADDRESS ON FILE
519308700                 ROBERT ROBINSON, ADDRESS ON FILE
519308701                 ROBERT ROHER, ADDRESS ON FILE
519308702                 ROBERT SMITH, ADDRESS ON FILE
519308703                 ROBERTO SOTO, ADDRESS ON FILE
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519308705                 ROGER ALLEN WARNER, ADDRESS ON FILE
519308707                 RONALD C OXENDINE, ADDRESS ON FILE
519308710                 ROSEANN ROSENTHAL, ADDRESS ON FILE
519308719                 SALY SYSENGRATH, ADDRESS ON FILE
519308721                 SANG VAN VU, ADDRESS ON FILE
519308734                 SHANEL HARPER, ADDRESS ON FILE
519308735                 SHARIF ABED, ADDRESS ON FILE
519308736                 SHAWN BURNS, ADDRESS ON FILE
519308737                 SHAWN REYNOLD STARCK, ADDRESS ON FILE
519308740                 SHERRON T GILLESPIE, ADDRESS ON FILE
519308746                 SINEAD RIDER, ADDRESS ON FILE
519308752                 SOLOMON A ROSENTHAL, ADDRESS ON FILE
519308753                 SOUNTHONE VONGSAKDA, ADDRESS ON FILE
519308768                 STATE OF N.J.- DIVISION OF TAX, PO BOX 265
519308775                 STEPHEN G HODUR, ADDRESS ON FILE
519308776                 STEPHEN THOMPSON, ADDRESS ON FILE
519308777                 STEVEN P CONSTANTINO, ADDRESS ON FILE
519308778                 STEVEN SMITH, ADDRESS ON FILE
519308779                 STEVEN WAJDA, ADDRESS ON FILE
519308787                 SUSAN AGIN, ADDRESS ON FILE
519308788                 SUSAN TRIFILETTI, ADDRESS ON FILE
519308789                 SUZETTE RATLIFF, ADDRESS ON FILE
519308799                 TAMECA TAYLOR, ADDRESS ON FILE
519308800                 TAN VAN LE, ADDRESS ON FILE
519308802                 TAQUANN FLEMING, ADDRESS ON FILE
519308803                 TASHIA RATTRAY, ADDRESS ON FILE
519308811                 TED PAYLOR, ADDRESS ON FILE
519308828                 TIMOTHY TRAN, ADDRESS ON FILE
519308843                 TROY WEBB, ADDRESS ON FILE
519308849                 TYRONE DAVIS, ADDRESS ON FILE
519308857                 UCR REGISTRATION
519308892                 VICTOR MEDINA, ADDRESS ON FILE
519308894                 VINCENT DENISI, ADDRESS ON FILE
519308898                 VU PHAM, ADDRESS ON FILE
519308905                 WALTER BURLINGAME, ADDRESS ON FILE
519308906                 WALTER MICHAEL HEDGEPETH, ADDRESS ON FILE
519308907                 WALTER T ROBINSON, ADDRESS ON FILE
519308909                 WARREN ALEXANDER, ADDRESS ON FILE
519308915                 WESLEY H PANEI, ADDRESS ON FILE
519308921                 WILLIAM HENRY AMES, ADDRESS ON FILE
519308922                 WILLIAM HIGGINS, ADDRESS ON FILE
519308923                 WILLIAM SHAW, ADDRESS ON FILE
519308924                 WILLIAM WALTER HOLMES, ADDRESS ON FILE
519308926                 WILSON J SINER, ADDRESS ON FILE
519308927                 WILSON VARGAS, ADDRESS ON FILE
519308930                 WIWATT INTRONIN, ADDRESS ON FILE
519308943                 YIWEI YE, ADDRESS ON FILE
519308948                 ZACHARIAS A HORIATES, ADDRESS ON FILE
aty           *+          Obermayer Rebmann Maxwell & Hippel LLP, 1120 Route 73, Suite 420, Mount Laurel, NJ 08054-5109
cr            *+          BB 316 Investments LLC, PO Box 953, Lakewood, NJ 08701-0953
op            *+          Epiq Corporate Restructuring, LLC, 777 Third Avenue, 12th Floor, New York, NY 10017-1302
cr            *P++        FORD MOTOR CREDIT COMPANY, P O BOX 62180, COLORADO SPRINGS CO 80962-2180, address filed with court:,
                          Ford Motor Credit Company LLC, P.O. Box 62180, Colorado Springs, CO 80962
cr            *+          Merchantville-Pennsauken Water Commission, 6751 Westfield Avenue, Pennsauken, NJ 08110-1519
cr            *+          Pollution Control Financing Authority of Camden Co, c/o Brown & Connery, LLP, 6 N. Broad Street, Woodbury, NJ 08096-4635
cr            *+          Talen Energy Marketing, LLC, 600 Hamilton Street, Suite 600, Allentown, PA 18101-2130
cr            *+          Teamsters Local 837 401(k) Plan, 12275 Townsend Road, Philadelphia, PA 19154-1204
cr            *+          Teamsters Local 837 Health & Welfare Fund, 12275 Townsend Road, Philadelphia, PA 19154-1287
519308116     *           DEPARTMENT OF THE TREASURY, INTERNAL REVENUE SERVICE, OGDEN, UT 84201-0009
519310682     *+          Department of Treasury, Internal Revenue Service, P O Box 7346, Philadelphia, PA 19101-7346
519308325     *           INTERNAL REVENUE SERVICE, PO BOX 7346, PHILADELPHIA, PA 19101-7346
519308324     *+          INTERNAL REVENUE SERVICE, 600 ARCH STREET, PHILADELPHIA, PA 19106-1695
519308873     *P++        INTERNAL REVENUE SERVICE, CENTRALIZED INSOLVENCY OPERATIONS, PO BOX 7346, PHILADELPHIA PA
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                                 19101-7346, address filed with court:, UNITED STATES TREASURY, 44 SOUTH CLINTON AVE, TRENTON, NJ 08609
519308323       *+               INTERNAL REVENUE SERVICE LOCAL OFFICE, 600 ARCH STREET, PHILADELPHIA, PA 19106-1695
519308509       *+               MOLDED COMPONENTS INC, 3706 WILD CHERRY LANE, WILMINGTON, DE 19808-4612
519308587       *+               OMEGA ENGINEERING, INC., ONE OMEGA DRIVE, STAMFORD, CT 06907-2336
519308795       *+               TALEN ENERGY MARKETING, LLC, 600 HAMILTON ST., SUITE 600, ALLENTOWN, PA 18101-2130
519308945       *+               YOUNGSTOWN TOOL & DIE CO. LLC, ATTN: DAVE LANG, 2572 SALT SPRINGS ROAD, YOUNGSTOWN, OH
                                 44509-1030
519307946       ##+              AMERICAN NATIONAL RUBBER, ATTN: MIKE CHRISTI, PO BOX 189, ANNAPOLIS, MD 21404-0189
519307964       ##+              ARIGATO METALS LLC, 425 NW 27TH AVENUE, MIAMI, FL 33125-3032
519308013       ##+              CAMDEN IRON AND METAL INC., ATTN: STEVE DEACON, 143 HARDING AVE, BELLMAWR, NJ 08031-2430
519308029       ##+              CERAMATERIALS, ATTN: JEFF OPITZ, 226 ROUTE 209, PORT JERVIS, NY 12771-5124
519308049       ##+              CINCINNATI INCORPORATED, BOX 11111, CINCINNATI, OH 45211-0111
519308065       ##+              COMPASS METAL TRADING, ATTN: PABLO, 309 FELLOWSHIP RD STE 200, MT LAUREL, NJ 08054-1234
519308114       ##+              DENTON METALS, LLC, ATTN: TREY DENTON, 1031 CEDAR HILL DRIVE, EVANSVILLE, IN 47710-5410
519308169       ##+              EMAINT ENTERPRISES, LLC, 307 FELLOWSHIP ROAD, MOUNT LAUREL, NJ 08054-1233
519308179       ##+              ENVIROMED CORPORATION, 555 BLACKWOOD-CLEMENTON ROAD, LINDENWOLD, NJ 08021-5901
519308210       ##+              FELLON-MCCORD, 10200 FOREST GREEN BLVD, LOUISVILLE, KY 40223-5183
519308222       ##+              FRANKLIN ELECTRIC COMPANY, ATTN: MIKE, 10 TWOSOME DRIVE, MOORESTOWN, NJ 08057-1366
519308247       ##+              GLENCORE LTD, ATTN: NITESH ASNAN, THREE STAMFORD PLAZA, STAMFORD,, CT 06901-3255
519308362       ##+              JOHN BRIDGE SONS, INC., ATTN: REGGIE, PO BOX 819, CHESTER, PA 19016-0819
519308469       ##+              MARKOWITZ METALS GROUP, LLC, ATTN: BRUCE MARKOW, 45 BROOK AVE, DEER PARK, NY 11729-7202
519308476       ##               MATI SALES, ATTN: ZEV, PO BOX 816, GLENSIDE, PA 19038-0816
519308518       ##+              MOTION INDUSTRIES INC., ATTN: JIM OR TONY, 9A SOUTH GOLD DRIVE, TRENTON, NJ 08691-1641
519308610       ##               PAUL MUELLER COMPANY, PO BOX 828, SPRINGFIELD, MO 65801-0828
519308661       ##+              QUENCH USA, INC., 780 5TH AVENUE, KING OF PRUSSIA, PA 19406-1406
519308714       ##+              RUNZHEIMER INTERNATIONAL, ATTN: DEBBIE BECK, 1 RUNZHEIMER PARKWAY, WATERFORD, WI 53185-3599
519308722       ##+              SARA ANDERSON, 624 FORD STREET, BRIDGEPORT, PA 19405-1335
519308750       ##+              SOCIETY FOR CORPORATE GOVERNANCE, 240 W 35TH ST, STE 400, NEW YORK, NY 10001-2568
519308827       ##+              TIMOTHY R. HAGAN, 319 HIDDEN DRIVE, BLACKWOOD, NJ 08012-4440
519308848       ##+              TWIN SPECIALTIES CORP., ATTN: SAM, 15 EAST RIDGE PIKE, CONSHOHOCKEN, PA 19428-2121
519308869       ##+              UNITED PROCESS CONTROL, INC., ATTN: RYAN N., 749 E. GOEPP STREET, BETHLEHEM, PA 18018-4442

TOTAL: 290 Undeliverable, 19 Duplicate, 24 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 12, 2022                                        Signature:            /s/Joseph Speetjens




                                CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 7, 2022 at the address(es) listed
below:
Name                             Email Address
Ana Parikh
                                 on behalf of Interested Party Residential Fences Corp. ana.parikh@rivkin.com
                                 matthew.spero@rivkin.com;stuart.gordon@rivkin.com

Andrew Katz
                                 on behalf of Defendant Martin J. Walsh katz.andrew@dol.gov

Anthony B. Stumbo
                                 on behalf of Creditor Tiger Finance LLC astumbo@riemerlaw.com
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Buffy L. Wilson
                            on behalf of Interested Party New Jersey Department of Environmental Protection buffy.wilson@law.njoag.gov

Catherine B. Heitzenrater
                            on behalf of Creditor CHUBB COMPANIES cebeideman@duanemorris.com

David L. Deratzian
                            on behalf of Unknown Role Type Nathan H. Kelman Inc. david@employmentlaw-lv.com

Deirdre E. Burke
                            on behalf of Creditor Tiger Finance LLC dburke@mccarter.com

Donald K. Ludman
                            on behalf of Creditor Pollution Control Financing Authority of Camden County dludman@brownconnery.com
                            kray@brownconnery.com

Douglas J. Smillie
                            on behalf of Creditor Talen Energy Marketing LLC dsmillie@flblaw.com, ccharlton@flblaw.com

Edmond M. George
                            on behalf of Debtor Aluminum Shapes L.L.C. edmond.george@obermayer.com,
                            michael.vagnoni@obermayer.com;Lucille.acello@obermayer.com;helen.belair@obermayer.com;turner.falk@obermayer.com;col
                            een.schmidt@obermayer.com

Edmond M. George
                            on behalf of Plaintiff Aluminum Shapes L.L.C. edmond.george@obermayer.com,
                            michael.vagnoni@obermayer.com;Lucille.acello@obermayer.com;helen.belair@obermayer.com;turner.falk@obermayer.com;col
                            een.schmidt@obermayer.com

Edmond M. George
                            on behalf of Attorney Obermayer Rebmann Maxwell & Hippel LLP edmond.george@obermayer.com
                            michael.vagnoni@obermayer.com;Lucille.acello@obermayer.com;helen.belair@obermayer.com;turner.falk@obermayer.com;col
                            een.schmidt@obermayer.com

Franklin Barbosa, Jr
                            on behalf of Creditor Tiger Finance LLC fb@spsk.com

Gregory Peterson
                            on behalf of Creditor UGI Energy Services Inc. gpeterson@dyerpeterson.com

Jeffrey M. Sponder
                            on behalf of U.S. Trustee U.S. Trustee jeffrey.m.sponder@usdoj.gov jeffrey.m.sponder@usdoj.gov

Jerrold S. Kulback
                            on behalf of Interested Party Energy Power Investment Company LLC jkulback@archerlaw.com chansen@archerlaw.com

John R. Morton, Jr.
                            on behalf of Creditor Ford Motor Credit Company LLC ecfmail@mortoncraig.com mortoncraigecf@gmail.com

Jordan Seth Blask
                            on behalf of Creditor Cygnus Manufacturing Company jblask@fbtlaw.com agilbert@fbtlaw.com;agilbert@ecf.courtdrive.com

Joseph Lubertazzi, Jr.
                            on behalf of Creditor Tiger Finance LLC jlubertazzi@mccarter.com

Joseph J. DiPasquale
                            on behalf of Attorney Official Committee of Unsecured Creditors Jdipasquale@foxrothschild.com
                            cbrown@foxrothschild.com;ShavoneGreen@foxrothschild.com

Joseph J. DiPasquale
                            on behalf of Plaintiff Official Committee of Unsecured Creditors of Aluminum Shapes L.L.C. Jdipasquale@foxrothschild.com,
                            cbrown@foxrothschild.com;ShavoneGreen@foxrothschild.com

Joseph M. Garemore
                            on behalf of Creditor Pollution Control Financing Authority of Camden County jgaremore@brownconnery.com

Joseph M. Vann
                            on behalf of Debtor Aluminum Shapes L.L.C. jvann@ctswlaw.com

Joseph M. Vann
                            on behalf of Interested Party CGPN LLC jvann@ctswlaw.com

Joseph S. D'amico, Jr.
                            on behalf of Creditor Public Service Electric and Gas Company jsdamico@flblaw.com hrivera@flblaw.com

Joseph S. D'amico, Jr.
                            on behalf of Creditor Talen Energy Marketing LLC jsdamico@flblaw.com, hrivera@flblaw.com

Karl N. McConnell
                            on behalf of Creditor Merchantville-Pennsauken Water Commission kmcconnell@mpwc.com jhershey@mpwc.com

Martha Baskett Chovanes
                            on behalf of Attorney Official Committee of Unsecured Creditors mchovanes@foxrothschild.com
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                            rsolomon@foxrothschild.com;brian-oneill-fox-5537@ecf.pacerpro.com

Matthew David Areman
                            on behalf of Creditor Teamsters Local 837 401(k) Plan mareman@markowitzandrichman.com

Matthew David Areman
                            on behalf of Creditor Teamsters Local 107 as Bargaining Agent for Unionized Laid Off Employees of Debtor
                            mareman@markowitzandrichman.com

Matthew David Areman
                            on behalf of Creditor Teamsters Local 837 Health & Welfare Fund mareman@markowitzandrichman.com

Maureen P. Steady
                            on behalf of Plaintiff Aluminum Shapes L.L.C. msteady@mac.com

Melissa A. Pena
                            on behalf of Creditor New Life Transport Parts Center mapena@norris-law.com pfreda@nmmlaw.com

Michael Kwiatkowski
                            on behalf of Creditor Public Service Electric and Gas Company mkwiatkowski@cullenanddykman.com
                            mkwiatkowski@msek.com

Michael J. Viscount, Jr.
                            on behalf of Plaintiff Official Committee of Unsecured Creditors of Aluminum Shapes L.L.C. mviscount@foxrothschild.com,
                            rsolomon@foxrothschild.com;ksenese@foxrothschild.com

Michael J. Viscount, Jr.
                            on behalf of Attorney Fox Rothschild LLP mviscount@foxrothschild.com
                            rsolomon@foxrothschild.com;ksenese@foxrothschild.com

Michael J. Viscount, Jr.
                            on behalf of Attorney Official Committee of Unsecured Creditors mviscount@foxrothschild.com
                            rsolomon@foxrothschild.com;ksenese@foxrothschild.com

Michael R. Herz
                            on behalf of Attorney Official Committee of Unsecured Creditors mherz@foxrothschild.com cbrown@foxrothschild.com

Peter C. Hughes
                            on behalf of Creditor Dilworth Paxson LLP phughes@dilworthlaw.com cct@dilworthlaw.com

Raymond M. Patella
                            on behalf of Interested Party UGI Energy Services LLC rpatella@lawjw.com

Raymond M. Patella
                            on behalf of Defendant UGI Energy Services LLC rpatella@lawjw.com

Rebecca K. McDowell
                            on behalf of Creditor Eastern Lift Truck Co. Inc. rmcdowell@slgcollect.com

Rebecca K. McDowell
                            on behalf of Defendant Eastern Lift Truck Co. Inc. rmcdowell@slgcollect.com

Robert Farouk Elgidely
                            on behalf of Attorney Official Committee of Unsecured Creditors relgidely@foxrothschild.com

Robert Farouk Elgidely
                            on behalf of Plaintiff Official Committee of Unsecured Creditors of Aluminum Shapes L.L.C. relgidely@foxrothschild.com

Robert W. Keyser
                            on behalf of Creditor BB 316 Investments LLC rkeyser@taylorandkeyser.com

S. Jason Teele
                            on behalf of Interested Party Aspen 9000 LLC steele@sillscummis.com steele@sillscummis.com

Sara Chenetz
                            on behalf of Interested Party Hydro Extrusion USA LLC schenetz@perkinscoie.com,
                            cmallahi@perkinscoie.com;docketLA@perkinscoie.com;rleibowitz@perkinscoie.com;chenetz-sara-perkins-coie-8670@ecf.pacer
                            pro.com

Steven E. Fox
                            on behalf of Creditor Tiger Finance LLC sfox@riemerlaw.com, dromanik@riemerlaw.com

Steven J. Reisman
                            on behalf of Interested Party AZZ Inc. sreisman@katten.com, nyc.bknotices@katten.com

Suzanne Demitrio Campbell
                            on behalf of Creditor Martin J. Walsh campbell.suzanne@dol.gov

Suzanne Demitrio Campbell
                            on behalf of Defendant Martin J. Walsh campbell.suzanne@dol.gov

Tina Moss
                            on behalf of Interested Party Hydro Extrusion USA LLC tmoss@perkinscoie.com,
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                           tina-moss-8527@ecf.pacerpro.com;Docketnyc@perkinscoie.com

Turner Falk
                           on behalf of Plaintiff Aluminum Shapes L.L.C. turner.falk@obermayer.com, coleen.schmidt@obermayer.com

U.S. Trustee
                           USTPRegion03.NE.ECF@usdoj.gov


TOTAL: 55
